Case 2:20-cv-00747-JCC Document 49 _ Filed 02/04/21 Page 1of 102

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON STATE

———— FILED

—Srertn | MAIL

FEB 04 9994

MyrIAM ZAYAS “
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WESTERN sate Re iSO

DEPUTY

PLAINTIFF,

90.cv.00747.JCC

)
)
)
)
)
)
ANNETTE MESSITT ) | Repty ON RESPONSE FOR MOTION TO
ANN DANIELI ) Dismiss
_ JEFFREY WHITNEY )
AMBER WHITNEY )
DAviD LARAUS )
PAULINE DUKE )
JENNIE COWAN )
DEFENDANTS, )

The Plaintiff was told that if she wanted to sue multiple people for the same
issue they had to be put together in the same lawsuit. The Plaintiff can not help that
they all have different capacities or immunities, or whatever.

The Defendants David La Raus, Jennie Cowan, Pauline Duke, Annette
Messitt, Ann Danielli all except Ann Danieli have access to the discovery and all
information that is listed in the following Exhibits they have had this information for
many months. They do see what is happening and they do ignore the blatant violation
of the law and the violation of the Plaintiff parental rights, and right to not be a victim
of their fraudulent document scheme created and upheld by the Defendant SH in
20.cv.00981 JLR.TLF. The Exhibits prove repeat IIED and repeat 4th amendment, and

14th amendment violations, as well as custom policy and unwritten policy's followed.

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The fo«ter parents have violated the Plaintiffs right to be religion free by
forcing her 5.yo into Christianity, teaching her how to pray, taking her to church after
the Plaintiff specifically asked the social workers not do this many times, and
“common sense” would hopefully apply. What “reasonable” person forces a child
that is not theirs into their religion? Now her 6 year old attends full time Christian
school she is the only colored child in the entire school, privately paid for by the new
“Mommy and Daddy” her child now has 2 Daddies that both owe 6 years of backpay
in child support because the Plaintiff was unaware they were the Daddies of her
child, however she will be waiting to receive past due support for confusing her child

to benefit their ego. Their “cousins” “other children” other “grandma” or anything

are not her childs relatives so please enjoin the Defendants Amber and Jeffrey

Whitney and all foster parents from playing house with the Plaintiffs child or
anyone’s child. The Plaintiff is not Christian in fact completely opposite, yet she is
forced to hear her 6.yo preach for 4 hours a week as she refers to her mother as
stupid for not believing in God. Unable to react appropriately as she is the Plaintiffs
princess and is always right so her mother can not tell her she is wrong. This was not
what she was taught at home, nobody has ever asked the Plaintiff what she was
taught at home. The Plaintiff is the sole custodian of her child no “other parent”
would be able to force her child into religion.

The sta.u official Defendants were added as they approved during the trial the
Shelter Care Hearing Order and agree to its authenticity, in their attempt to continue
to trick the Plaintiff into believing their fraud and forgery. Likely telling the world

around them they are saving a child from being abused, yet the Plaintiffs drug screen

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was Clean on the day her child was picked up, and not one of them can formulate a
sentence describing how her child was abused without mentioning the Plaintiff
therefore the Plaintiffs rights had to have been violated.

“An officer may still be liable even if he or she did not
commit the act that injured the plaintiff. An officer who is present
and fails to intervene to prevent other law enforcement officers
from violating a person’s constitutional rights is liable under
Section 1983. Byrd v. Brishke, 466 F.2d 6 (7th Cir. 1972) (an officer
who knows about the unlawful conduct and has a realistic
opportunity to intervene and prevent harm from occurring is
liable).”

The Defendants violated her civil rights and discriminated against the Plaintiff
as a result her liberty was restrained; she also incurred past and future injuries that

are physical, emotional, past, and future legal costs and fees, past and future mental

health care and mental health diagnosis incurring lifetime medication costs. and for

nominal, declaratory relief, as well as punitive damages for the past loss of Plaintiffs’

constitutional rights. Resulting in her injuries and these injuries are due to lasta
lifetime.

As a direct and proximate result of Defendants’ violation of the Equal
Protection Cl-1+se of the Fourteenth Amendment, Plaintiffs have suffered irreparable
harm, including the loss of her constitutional rights, entitling her to declaratory and

injunctive relief and nominal damages.

The following “particular rights” apply to the Defendants actions:

First Amendment -
Establishment Clause: Foster parents provide a public function serving the “public”
generally and receiving federal grant money are not permitted for forcing Christianity

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or any one religion as supreme and recognized solely above all others. Foster parents
should also not be able to decide the education of a child they did not birth.

Fourth Amendment

Unreasonable Search and Seizure

Unreasonable Search w/o Consent

Unreasonable Seizure of Property

Fourteenth .\;aendment

Equal Protection

Interference with Parent/Child Relationship

Deliberate or Reckless Suppression of Evidence

Deliberate Fabrication of Evidence

JM is Jamia McRae CPS is child protective services

Her son is now 18 so if we missed redacting a few its okay by him. For the others my

apologies, rookie mistake.

1. Exhibit 1997 In all Plaintiffs Dependency She unknowingly signed the
termination petition which was hidden in small writing in order to start funding
for “adortion assistance” Her 14-year-old daughter ended up being adopted by
complete strangers for the adoption incentive bonus. Despite her parenting a

newborn at the time and being capable of taking her back home.

. Exhibit 1997-1 Adoption and Safe Families Act of 1997 requires the filing of

the Termination Petition.

. Exhibit 05.08.2008 Plaintiffs rights were clearly established when the social

worker asked for permission to speak with her 5-year-old child.(2008)

. Exhibit 09,25.2009 Social workers interrogate Plaintiffs 6 and 8 yo children

before violently ripping them from their school for a dog biting one child.

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. Exhibit 29.25.2009 Plaintiffs sons father calls CPS and never gives information
on how she abused her child only lists the defects he assumed she suffered
from.

. Exhibit 10.06.2009 Supervisor informs the Plaintiffs sister that they plan on
making it more difficult for the Plaintiff to get her children back. Her sister
confirms this unwritten policy she too learned in college.

. Exhibit 10.23.2009 Jamia McRae failed to mention the missed drug screen for

an African American man and is ready to place her children with him ASAP.
Never requires that he attend drug treatment which she required from the
Plainti¥* vet refused to pay for drug treatment for the Plaintiff.

. Exhibit 03.16.2010 Sons father misses only drug screen he is ever sent for and

does not have to go to drug treatment at all. Receives custody after JM forces
dependency to stay open until his release from prison in 2015. Does not
complete any court ordered services even in prison.

. Exhibit 08.10.2012 JM is informed via email that the reason he wanted her son

removed from his home because he wanted to be alone with her daughter.

. Exhibit 07.10.2013 No founded child abuse-findings for an African American

man despite performing actual child abuse against his child for 2 years.

. Exhibit 2612 The Plaintiff wrote many letters to all parties via email and postal
mail. Nobody ever responded or cared what she was complaining about even

senator of Washington sent her complaint back to CPS and they closed it

regarding racial discrimination.

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12. Exhibit 2014 The Plaintiffs child is a victim of sexual misconduct by her father

and it is minimized by the social worker.

. Exhibit 11.09.2016 Plaintiffs 2-year-old child is interviewed at her daycare

center by a social worker for a dirty diaper. The Plaintiff took off the diaper the
night before so she could go swimming and the Plaintiff saved the diaper since
it was dry and the daycare marked the diaper, called even though the diaper
was Sti. c'éan hi the morning stating she never changed her daughters diaper,
CPS showed up same day to interview child.

. Exhibit 12.11.2017 Shae Hopfauf who is the same area administrator now was

informed that the Plaintiff did retain custody of her son, because his father
disappeared.

. Exhibit 12.17.2619 an intake is made and alleges the Plaintiff abused her son

for him being stabbed after his father left him homeless, and she took him in

her home. No founded child abuse findings for an African American man who

abandoned his son and left him homeless at the age of 14.

. Exhibit 07.15.2019 The social worker says she can't help the Plaintiff get her

son into treatment.

. Exhibit 08.01.2019 Social worker places therapy for the Plaintiffs son in his

home no questions asked like , where have you been? No child abuse finding,

would not even ask him to drug test after abandoning her son 3years prior.

. Exhibit 08.01.2019 Social worker threatens Plaintiff that she needs to give her

son back to his father and does not even ask him for a drug screen after he left

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his son homeless on a crack binge in 2017 then suddenly shows up after his
son is hit by

. Exhibit 93.12 2020 Plaintiffs 5-year-old child is interrogated during school and

the sociai worker lacked the proper education, no probable cause and during
the pandemic. Emergency order 6 went into effect on the 10 of March and was
signed on the 16t4 of March.

. Exhibit 03.13..2020 Clean drug screen on the 13th of March 2020

. Exhibit 03.18.2020 message from Plaintiffs physician explaining drug screen

results may possibly be from medication.

. Exhibit 03.23.2020 Dr writes letter to the court for the Plaintiff for possible

medication false positive results.

. Exhibit 10.16.2020 No minutes for the 16t* or 17 of March no hearing for

warraii =. Sheer gare for the Plaintiff and her child.

. Exhibit 419 Mrs. Boyett text messages to and from since day one of
kindergarten.

. Exhibit 419 Mrs. Boyett fraud, possibly an actress.

. Exhibit 11.20.2019 Plaintiffs childs attendance records. Not showing “many”
absences.

. Exhibit 10.19.2019 Plaintiffs childs awards from school.

. Exhibit 02.18.2020 Hospital calls central intake to report mother went AMA

due to not having a place for her child to go while she stay in the hospital.

e

. Exhibit 02.19.2020 Social worker refused voluntary placement of the Plaintiffs

child when she called to voluntarily place her child.

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ie

. Exhibit 03.13.2020 Defendants social workers are given clean drug screen

results after the dirty one they picked up her child anyway.

. Exhibit 06.26.2020 the new foster parents signed the agreement stating,

“mother requests that she not participate in religious activities.”

. Exhibit 01.15.2021 Letter from ombudsman after filing complaint, did nothing

but stated that it would change even though Shea Hopfauf hid it from the
Plaintiff deliberately for 4 months. Furthermore, the education part of the
Shelter Care Hearing Order is void since its invalid and forged.

. Exhibit 12.57pm Supervisor sends email 20 minutes after receiving clean UA

that they will take plaintiffs child for the dirty UA from almost 2 weeks prior,
never even mentions the clean drug screen she just received.
. Exhibit 04.01.2020 Social worker commits perjury during trial and said the

Plaintiff did not complete a drug assessment.

35. Exhibit 01.20.2021 DCYF has no founded findings since 2009.(2020)
May contain many mistakes as far as numbering apologies. This document and its

exhibits will be submitted for case 20-cv-00981 JLR-TLF for proof of repeat civil rights

violations and repeat injury over the course of 15 years. The state officials should be

able to describe her child being abused without mentioning the plaintiff at all if this is
not possibie, .:.sy should:not be permitted to removing her children. Prostitution,

drug use, is not child abuse. Child abuse is CHILD ABUSE. Not “neglect.”

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(And if | wasn’t supposed to do this then please let me know because | don't know.)
02/03/2021

Respectfully Submitted

Myriam Zayas

+13606021444

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[X] at, the matter be set for a review hearing on the 7 z, day of
ceive 4 ,20 30 ,at 3% amJ/gatyy

DATED this | day of Az _» 2010

OURT MISSIONER
Presented by:

ROBERT M. MCKENNA
Attorney General

MARY E. DICKE

(A
OHAD M. LOWY, WSBA

Assistant Attorney General]

Copy Received; Approved for Entry;
and Notice of Presentation Waived:

Attomey for Father, WSBA #

Child(reny'g Guardian ad Litem Atiomey for GAL, WSBA #

Supsrvising Agency Attorney for Supervismg Agency

AGREED ORDER OF DEPENDENCY AND ATTORNEY GENERAL OF WASHINGTON

1019 Pacific Avenue South 3rd Floor
AGREED DISPOSITIONAL PLAN AS TO Tecoma y A 98402-4411

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Bhod 140

DCYF is authorized to consent to travel by the child with their licensed foster parent/relative
caregiver/other suitable person placement for up to two weeks within Washington State or to
other states within the United States. If the travel will interfere with scheduled visits between the
child and a parent, DCYF shall give 10 calendar days’ notice to that parent so that a plan for
make-up visits can be made. The licensed foster parent/relative caregiver/other suitable person
placement may consent to emergency medical and dental care during these trips.

Dated:
Judge/Commissioner

Presented by:

DAVID LA RUAS
Assistant Attorney General
WSBA #33715

Notice: A petition for permanent termination of the parent-child relationship may be filed if the
child is pl dependency. (RCW 13.34.180.)

AGREED; approved for entry: Notice of Presentation Waived:

Signature of Mother, Miriam Zayas
Xi Pro Se, Advised of Right to Counsel

C Signature of Child’s GAL C1 Signature of Lawyer for the Child’s GAL

Print Name Print Name WSBA No.

Signature of DCYF Representative
Jamaal Magee

Order of Dependency (OROD, ORDYMT) - Page 11 of 12
WPF JU 03.0400 (07/2018) - JuCR 3.7; RCW 13.34.030, .046, .110, .120, .130, .132

INTORMATION
GPO

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Dy\uba ATI-

PUBLIC LAW 105-89—NOV. 19, 1997 111 STAT. 2115

Public Law 105-89
105th Congress

An Act

To promote the adoption of children in foster care. _Nov. 19, 1997

{H.R. 867]
Be it enacted by the Senate and House of Representatives of

the United States of America in Congress assembled, Adoption and

Safe Families Act
SECTION 1. SHORT TITLE; TABLE OF CONTENTS. of 1997.

(a) SHort Tirte.—This Act may be cited as the “Adoption 42 USC 1305
and Safe Families Act of 1997”. note.

(b) TABLE OF CONTENTS.—The table of contents of this Act
is as follows:

Sec. 1. Short title; table of contents.

TITLE I-—-REASONABLE EFFORTS AND SAFETY REQUIREMENTS FOR
FOSTER CARE AND ADOPTION PLACEMENTS

. 103. States required to initiate or join proceedings to terminate parental rights
for certain children in foster care.

. 104. Notice of reviews and hearings; opportunity to be heard.

- 105. Use of the Federal Parent Locator Service for child welfare services.

:. 106. Criminal records checks for prospective foster and adoptive parents.

. 107. Documentation of efforts for adoption or location of a permanent home.

TITLE II—INCENTIVES FOR PROVIDING PERMANENT FAMILIES FOR
CHILDREN

. 201. Adoption incentive payments.
. 202. Adoptions across State and county jurisdictions.
. 203. Performance of States in protecting children.

TITLE TWi-—-ADDITIONAL IMPROVEMENTS AND REFORMS

. 301, Authority to approve more child protection demonstration projects.

. 302. Permanency hearings.

. 303, Kinship care.

. 304. Clarification of eligible population for independent living services.

. 805. Reauthorization and expansion of family preservation and support
services.

. 306. Health insurance coverage for children with special needs.

. 307. Continuation of eligibility for adoption assistance payments on behalf of
children with special needs whose initial adoption has been dissolved.

. 808. State standards to ensure quality services for children in foster care.

TITLE IV—MISCELLANEQUS

. 401. Preservation of reasonable parenting.
. 402. Reporting requirements.
. 403. Sense of Congress regarding standby guardianship.
. 404. Temporary adjustment of Contingency Fund for State Welfare Programs.
. 405. Coordination of substance abuse and child protection services.
. Purchase of American-made equipment and products.

TITLE V—EFFECTIVE DATE

. 101. Clarification of the reasonable efforts requirement. :
. 102. Including safety in case plan and case review system requirements. k— Ne

. Effective date.

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Ex lube (13 —-\

111 STAT. 2118 PUBLIC LAW 105-89—NOV. 19, 1997

(B) in paragraph (5)—

i) in subparagraph (A), in the matter preceding
clause (i), by inserting “a safe setting that is” after
“placement in”; and

(ii) in subparagraph (B)—

(I) by inserting “the safety of the child,” after

“determine”; and

(II) by inserting “and safely maintained in”
after “returned to”.

SEC. 103. STATES REQUIRED TO INITIATE OR JOIN PROCEEDINGS TO
TERMINATE PARENTAL RIGHTS FOR CERTAIN CHILDREN
IN FOSTER CARE.

(a) REQUIREMENT FOR PROCEEDINGS.—Section 475(5) of the
Social Security Act (42 U.S.C. 675(5)) is amended—
(1) by striking “and” at the end of subparagraph (C);
(2) by striking the period at the end of subparagraph (D)
and inserting “; and”; and
(3) by adding at the end the following:

“(E) in the case of a child who has been in foster
care under the responsibility of the State for 15 of the
most recent 22 months, or, if a court of competent jurisdic-
tion has determined a child to be an abandoned infant
(as defined under State law) or has made a determination
that the parent has committed murder of another child
of the parent, committed voluntary manslaughter of
another child of the parent, aided or abetted, attempted,
conspired, or solicited to commit such a murder or such
a voluntary manslaughter, or committed a felony assault
that has resulted in serious bodily injury to the child or
to another child of the parent, the State shall file a petition
to terminate the parental rights of the child’s parents (or,

Qt such a petition has been filed by another party, seek
to be joined as a party to the petition), and, concurrently,
to identify, recruit, process, and approve a qualified family
for an adoption, unless—

“G) at the option of the State, the child is being
cared for by a relative;
“(ii) a State agency has documented in the case

plan (which shall be available for court review) a

compelling reason for determining that filing such a

petition would not be in the best interests of the child;

or

“(ii) the State has not provided to the family of
the child, consistent with the time period in the State
case plan, such services as the State deems necessary
for the safe return of the child to the child’s home,
if reasonable efforts of the type described in section
471(a\(15)(B)Gi) are required to be made with respect
to the child.”.

(b) DETERMINATION OF BEGINNING OF FosTER CARE.—Section
475(5) of the Social Security Act (42 U.S.C. 675(5)), as amended
by subsection (a), is amended—

(1) by striking “and” at the end of subparagraph (D);

(2) by striking the period at the end of subparagraph (E)
and inserting “; and”; and

(3) by adding at the end the following:

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PLAINTIFF’S
EXHIBIT

NARRATIVE

Case Note 1 of 1 Entered By : | . DIESCH Date Entered : 09/25/2009
Time Entered : 07:51 AM

9/16/09 11:25

IFF with also present was |

Worker explained to

that she has never heard of CPS but understood what worker said. She said that she would tell

the truth, not answer if she didn't k now the answer. and if she didn't want to answer to say so.

She agreed to ux so.

She answered that Mom lives at home, worker asked if that was all, she said that just her mom

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Discusse

mother's but he is not her boyfriend. Sh said that he

cousins house, but "he is at our house a lot". Asked if a

denied. Ms. |

black eye, b

At this point in the interview, worker observed that § | was getting tears in her eyes.
Worker asked her if her mother had said that CPS was coming to talk with her, she said that yes,
she her mother said not to talk to CPS. She started crying and she said that she didn't want to
"leave my mother". Worker asked if her mother had said that CPS would make her leave her
mother. She s..°-! yes. Worker asekd her if she has ever been taken from her mother by CPS she
answered yes. Worker said tha if she did not want to talk with worker she just had to say so, she
was crying and asked worker to talk with her mother.

Worker advised her that sometimes CPS does have to put children in s safe place when parents
can't protect their children from harm, but that CPS wasn't families to stay together and will try
to help keep children at home. She said that she understood.

Case Name: Case ID: Case Note ID: Note Finalized
ZAYAS, MYRIAM — .| 481288 31395300

Case Note Category: CPS Case Note Type: Investigation

Date Occurred: 09/16/2009 Time Occurred: 11: 0 AM _

Date Entered: 09/25/2009 08:11 AM Note Entered by:

Related Participants and Collaterals: Related Intakes:
09/08/2009 10:02 AM 2105426

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ACTIVITIES

Activity: Chil. ‘aitial Face to Face with Child  - Participant: gy
Location: School Time: 11:30 AM TCM: No

CONTACTS

NARRATIVE.

Case Note 1 of 1 Entered By Cl | . Date Entered : 09/25/2009
Time Entered: 08:11 AM
9/16/09 11:30
| present, as was coworker (BZ7] (IM and Ms. [Mj office manager for the school.
Rapport was established, | romised to tell the truth , tell if he did not understand or did
not remember, also agreed to tell worker if he did not want to answer the question.
Worker explained about CPS, he said that he understood. Worker asked if his mother told him
not to speak with CPS, he said that his mother told him not to let CPS into the house, but denied
that his mother did not tell him not to speak to CPS at school.
Worker observed that (2. has a large semi-circular scar on his left cheek, the scar starts about
his cheek bone and circles around his cheek to and along the bottom of his jaw. Worker asked
him about the dog bite. He said that he was playing with the dog when it bit him. Worker asked
him if the dog had bit anyone before, he said that "yes" the dog bit 277 son, “ He was bit
worse than me". He said that the dog bit her son, "close to his eye". | said that That ©
does not live with them, but “lives somewhere else".
Worker asked * i was still their babysitter, he said “no, J
Asked where Bis he sai 774 lives with them, and he just got out of jail
yesterday. He does not know |
Worker asked if he has seen any fighting between his mother and Co
beating her up", he said it was in front of him. Worker asked him to describe what happened, he
"© was yelling at mom and she was yelling back, that then he jumped on her and
choked her, and Mom had a black eye". He denied that the police came to their house. He said
that this is the only time he has seen |
Worker asked where he was when the fight happened, he said he was in the bathtub and told

time, he said a “long time ago, in the summer", he wasn't in school yet this year. He said that

i hit him with an open hand on the leg, it happens in the car. He answered the it has
happened "10 times".
Worker asked | #7] if there was food in the house, he-answered “not too much" he had toast for
breakfast. He ate lunch at school. Worker asked him what he had for dinner last night, he said
"fried chicken". Asked him where he ate it, he said that his mom cooked it. Worker asked if he
were there, he said he was there, worker asked if he were watching and how did his mém cook
the chicken, he said that he wasn't watching her cook it. Asked what they had with it, he said

fe asout drugs, he seemed confi ed, Ms. (WGEEH asked if anyone was taking pills or
medicine, he said that yes, his mother and M take pills "to make her feel good", he said that
the pills are in the bathroom.
i j was taking any medications, he denied.

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PLAINTIFF'S
EXHIBIT

04-25

ZAYAS, MYRIAM _| 481288 31387729

Case Note Category: CPS Case Note Type: Supervision

Date Occurred: 09/23/2009 Time Occurred: 11:00 AM

Date Entered: 09/23/2009 11:59 AM Note Entered by; MCDONALD, [
SW

Related Participaiits and Collaterals: Related Intakes:
Myriam Zayas 09/08/2009 10:02 AM 2105426

a 2.4 YAS

ACTIVITIES
‘| Activity: Monthly Supervisor Review Participant: Myriam Zayas Location: Children's
Administration Office Time: 11:00 AM TCM: No
CONTACTS

NARRATIVE
Case Note 1 of 1 Eatered By: WE EE MCDONALD, SW __Ss~Daattee Entered :
09/23/2009 Time Entered: 11:59 AM
IFF completed but Subject interview not completed. Parent not cooperating with CPS. Safety
plan unable to complete due to non compliance with CPS. SW has concerns and believea safety
plan needs to be done.

Case Name: Case ID: Case Note ID: Note Finalized [x]
ZAYAS, MY, =.".M 481288 31395273
Case Note Category: CPS Case Note Type: Investigation
Date Occurred: 09/09/2009 Time Occurred: 11:45 AM
Date Entered: 09/25/2009 07:47 AM Note Entered by: ia KATHERINE, J.

Related Participants and Collaterals: Related Intakes:
-ZAYAS 09/08/2009 10:02 AM 2105426

ACTIVITIES
Activity: Parent - Bio/Adopt or Guardian - Initial Contact Participant: [I EE
hl Location: By Phone Time: 11:45AM TCM: No
CONTACTS

NARRATIVE
Case Note 1 of 1 Entered By: KATHERINE J. I. = Date Entered : 09/25/2009
Time Entered : 07:47 AM

ATCT Mr. [RRB 11:45 9/9/09
Left Message

Mr. MRR caticd worker right back. He said that [J is not in school, he is enrolled but
hasn't attends * vet because of the dog bite. He said that was in the hospital for a couple
of days and just came home on Monday. [J was in Mary Bridge Hospital. Mr. I does _|

(\) of (» vesoning  WAIMROINT BOUIN.

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ape > . PLAINTIFF'S

EXHIBIT

la-ol

Case Note | of 1 Entered By: KATHERINE J.

Time Entered : 05:05 PM
Worker returning phone calls to Ms, Zayas, advised her that worker was off on Friday and
Monday and just returning phone calls this date. She advised that she has a visit scheduled with
the children on Thursday morning at 9:00. She wanted more information about the FTDM on
Thursday, gav~ her the info and asked if her parents were coming, she said that they were
coming. She asked about her sister [RN IJ worker said that she is next for a phone call
from worker. Current phone for Ms. Zayas, [-2651.

Case Name: Case ID: Case Note ID: Note Finalized
ZAYAS, MYRIAM 481288 31443232
Case Note Category: CPS Case Note Type: Investigation
Date Occurred: 10/06/2009 Time Occurred: 03:00 PM

Date Entered: 10/06/2009.05:11 PM Note Entered by: BME KATHERINE, J.
Related Participants and Collaterals: Related Intakes:
‘Myriam Zayas 09/08/2009 10:02 AM 2105426

ACTIVITIES
Activity: Contact - Collateral Participant: Myriam Zayas Location: By Phone Time: 03:00
PM TCM: No

CONTACTS

_ NARRATIVE
Case Note 1 =.” Eatered By: KATHERINE J. DIESCH Date Entered: 10/06/2009
Time Eniered : 05:11 PM

i one call to JE HEM sister of Myriam Zayas. 253-9 ov EE. Vs.

is married, her husband is in the Army they live about 6 hours away from Tacoma in
eastern Washington. Ms. [RE said that she and her husband have been "discussing if we could
take the children" recently. Worker asked why, she said that "I love my sister" and then stopped.
Worker advised her that this is not just about getting info on her sister but in order to be able to
protect the children. She said that she understood. She ahs been concerned that Ms. Zayas is back
using drugs and when worker mentioned prostituting, she said that Myriam told her that she "was
taking the children away from the house" when she did so, and this is when JJ got mauled
by the dog.

This worker asked her if she would be able to participte in the FTDM, she said that she could by
phone and that she and her husband are willing to tak The chldien, Worker explaised ati]
much more difficult when children have been in care before, she stated she understood. Ms.
Gomez did an internship for CPS when she was in college.

\

|
Case Name: Case ID: unwritten, custom, policy and practice to make

ZAYAS, MYRIAM 481288 it more difficult if the children have been in care
Case Note Categ wy: CPS ~ before.

[ © { | Page 70 of 240

Case 2:20-cv-00747-JCC Document 49

PLAINTIFF’S
EXHIBIT

[0-25

Date Entered: 10/23/2009 04:57 PM Note Entered by: KAREN

Related Participants and Collaterals: Related Intakes:
Y.
MYRIAM ZAYAS

MEE N.ZAYAS
es >
ES M2 AS

ACTIVITIES

Activity: Monthly Supervisor Review Participant: RY .

Locat:on: Children’s Administration Office Time: 04:45 PM TCM: No
Activity: Monthly Supervisor Review Participant: SJ N. ZAYAS = Location:
Children's Administration Office Time: 04:45 PM TCM: No
| Activity: Monthly Supervisor Review Participant: MYRIAM ZAYAS Location:
Children's Administration Office Time: 04:45 PM TCM: No
Activity: Monthly Supervisor Review Participant: ( -A Y AS

Location: Children's Administration Office Time: 04:45 PM TCM: No
Activity: Monthly Supervisor Review Participant: i D. = Location:
Children's Administration Office Time: 04:45 PM TCM: No

CONTACTS

NARRATIVE

Case Note | of 1 Entered By: KAREN J “Date Entered: 10/23/2009 Time
Entered : 04:57 PM

This case remains in shelter care status. The contested fact finding is 10/29/09. Father, Mr.
HERE is visiting the children regularly. The SW and CASA visited his home in Kent. It is a
studio apartment. There were no safety concerns with the home. Mr. J is working. He
would like to have J placed in his care but will need to complete a parenting assessment
and follow any recommendations prior. The previous dep i !
recommended services he did not comply with at that time He reports he is clean and sober. The
SW referred raadom UA's to begin 10/26/09.
Mr. BF visited orce with his son. He is waiting for his sister's background check to come
back and thes: she will be the visit supervisor if approved by the Department. Mother is visiting
every week with the exception of last week when she reported she was beat up by a former
boyfriend. The social worker has been given information about mother solicitin g herself on
Craigslist. Mother is aware the Department has this negative information. She is trying to fin
job.

The health and safety visit for both children occurred on 10/09/09. They are doing well in
Cedar House program. They are no longer crying at night. The children are very bonged

each other.
SY
Cy

Case Name: Case ID: Case Note ID: Note Finalized [xj
ZAY AS, MYRIAM 481288 31516183 (\

Case Note Category: CPS Case Note Type: Contat J
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. ¢@ Page 12 of 117

Case 2:20-cv-00747-JCC “Document 49 Filed 02/04/21 Page 20 of 102

10/20/2009 16:18 PAX 253 476 6835 EAST /-

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"© STERLING Reference Laboratories Page 1 of |

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(Laal name, firat} {> (283 :) 316 111440

lcase or REFERRAL #481288 * (BRL, onter in Patent 10) ey
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ba Agency Number: 9037 i NO SHOW y PLACE SMALL LABEL

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: : to be placed on bottle
24031 104TH AVENUE SOUTH EAST gn We
KENT, WA 96030 f OCT: gv4 2009 Vt No hand! written #

Telephone(253) 852-1924 Alt. Phone

Fax(253) 859-5139 SRL

fo Bociac WORKER WORKEP’S OFFICE (Report Delivery te this Location) = a ee
” | GARS~TACOM + « UNIT 4 (253% 983-6200 BRL CLIENT 1D047198 fe

[Phone ( 253 ATA - 6826
fea ( 263 ') 476 "6835.

IssPs 45MJ01 €-diglt SSPS {D SRL enter in SW name faid
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mevddiyyyy)
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ndom UIA - complete ONLY if collection site offers random: #week. OR #/Month 2

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laciitate SW not having to send " form for sach collectian},

i. amet.

W Signature Sup. initials Be if Pe
OLLECTOR TO COMPLETE THE FOLLOWING: OLLECTIO

pe Time WA -Collection due by: (Time). = AM O Pu Date:

NOATE
OLLECTOR Very Wor complete all “fields. if “SW Signature” ia not entered, do not collant. Centacl SW to correct migsing data, or enter
lem In comments iacton betow # fax rm back to BW. _.
DONOR IDENTIFIED BY |Photoip [i —_sweEscort T* Attested to by collection site [7

ONOR CONSENT - Donor to complete: | cenity the specimen submitted is mina, wea accurately lsbated, & securely aaaled in my
presence, & ralaased to collaction agent. | aulhorize SRL lo teal this specimen 4 release reauhs to ardering agency.
F DONOR SIGNATURE:

c Type of Collection bserved: Y N ‘emp within 90 - 99F: Y N [Transport to SRL via: Mail Courier

F COLLECTOR SIGNATURE I

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After fter placing small "TAB" label on this Form, moke a copy for your record. Place tamper evident sealed Doitis ott into seourity bag ,
fabsorbant pad) & seal flap. Piaoe this Ferm, with label on Ui, into othar pouch of security bag & ship to SRL.
Collection site comments: 4
SRL uae: Specimen recd with specimen ID & tamper evident seal intact: Y N Gata: / / Recalved at lav by

ORM | HANDBOOK | BLANK

hitp://www.sterlingreflabs.com/ca/careq.asp 10/20/2009 ;

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Case 2:20-cv-00747-JCC Document 49 _ Filed 02/04/21 Page 21 of 102

93/15/2010 MON 10:25 FAX

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STERLING Reference Laboratories a EXHIBIT
P:1 (800) 442-0438 Mandatory fields are in red, will not printif CA -U/A
incomplete. . at
Ce
(List aang. fret) | . -
CASE or REFERRAL # 481288 {SRL ontor in Patient (D) “———— “|

SW SELECT COLLECTION SITE (contactor varity your sile is sled)

ba Agency Number 9187 * NO. SHOW

T required - COLLECTOR 1
I PLACE SMALL LABEL
“TAB” HERE ]

SRL COMMENCE BAY - PATIENT SERVICE CENTER, ] Large matching # label
3716 PACIFIC AVENUR,-STE C, MAR toe Pca on bot
TACOMA, WA $6418 . 16200 |) ‘tion 1
Telephone (253} 472-0456 Alt. Phone sme mys men
Pax (800) 605-9425 SRL

SOCIAL WORKER'S OFFICE (Repo Dotlvery to this Location) .
CA RS - TACOMA - UNIT 45 (253) 983-6200 SRL CLIENT ID 052970

Ph 253) 476. 6826
SOCIAL WORKER fProne fate 03/12 1 2010 gonvasyyy
irax( 263 ) 476 - 6836
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SOCIAL WORKER McRae ae Last name, 1st intial
ISELEGT A TEST 6DRUG [NONE JNONE JNONE
LIST MEDICATIONS -
Ons Time U/A - Collection due-by: (Time) (> AM <> PM Date: if
mmniddiyyyy)

Collector: if donor arcves on time proceed w/collection. tate cokect Specimen & nollty SW, if ano show notify SW
Random U/A - complete ONLY if collection site offers random: #iweek OR #/Month 2

Start Date 03 7 16 1 2010 (mersoyyyyy End Date 08 / 16 / 2010 (monvaaiyyyy)
* Collector: if multiple collections are ordered, Keep original Order Form as master. Moke photocopy from original fos eubsaquent collections (Inis wilt

pcititste SW not having to aand a form for each collection). i
_ L. Lf. Lit
ISW Signature | San hee | suv. St
COLLECTOR TO COMPLETE THE FOLLOWING: |GOLLECTIONDATE / 1°

COLLECTOR Verity aor complale all * fields. f “SW Signature” Is nol entered, do-not collect, Contact SW lo correct missing dala. or anier
Pfablem in comments section below & tax form back to SW.

P DONOR IDENTIFIED BY |PhototD ™ —_ [gwescort JAltested to by collection site

DONOR CONSENT - Donor to complete: | contty the specimen submitted Is mine, was accurately labeled, & seourely sealed in my
presence, & released to coltaction agant. | authorize SRL to test this Specimen & release reeulls (0 ordering agency. ‘

: DONOR SIGNATURE; ths
Type of Cole. ou jObe2rved: YN val T ‘emp within $0 =s SOF: YN iT transport lo SRL. via: Mail Courier

After ptacing small "TAB" label on this Form, mata a copy for your racord, Place lampor aviden! seated bolle into secutily bag
auch (pouch wiabsorbant pad) & seal lap. Place thit Form, wilh label on il, ilo ather pouch of security bag & ship to SRL

Collection site comments:
SRL use: Specimen rac‘d with specimen ID & tamper evident seal intact: Y No ete: 7 1 Received atlab by.

SRi:CA HOME | SBLCOLLECTION SITES | i910 Ranke | HANDBOOK | BLANK
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http://www. sterlingreflabs.com/ca/careq.asp 03/12/2010

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Case 2:20-cv-00747-JCC Document 49 _ Filed 02/04/21 Page 22 of 102

OFFENDER COUR™ 'NVOLVEMENT:

has the following CONVICTIONS:
FELONY Robbery 2 1988
FELONY Theft 1 1988
FELONY Burglary 2 1988
FELONY Manslaughter 2 1991
FELONY VUCSA 2000
FELONY PSP1 2003
FELONY Veh. Homicide 2003
FELONY Hit & Run Injury 2003
. GROSS MIS Crim Tress 1987
10.GROSS MIS Obstruction 2002
11.Class Unknown Firearms 1995
12.Class Unknown VUCSA 2000
13.Class Unknown Crim. Tres 2002

OCONDARWN =

Mr. (I is Pending Trial on new charges of UPCS with Intent to Deliver, and a Parole Violation;
Trial is set for January.

Myriam Zayas has “++ follov:ing CONVICTIONS:
FELONY VUCSA Maiiufacture/Deliver/Conspiracy 2001

PLAINTIFF’S
EXHIBIT

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Page 2 of 7

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CW Ga

To whom it may concern: 9-5-12

My name is Myriam Zayas and | have two children | | : _-Zayas and
September 2009 both of my children were kidnapped from their school, CPS workers covered their
mouths as they yelled screamed and cried for each other and their mother and were ripped from all
they ever knew and loved and placed in a foster home. Since then | have watched them deteriorate and
wither away.

| have asked many times can we go to trial only to get the run around, see in Beverly Grants
courtroom if you aren’t black you don’t even get heard, she just blows you off like everything you are
saying is not important. | showed her photographs of my daughters obvious hair loss and she basically
called me a liar stating no she is not losing her hair, | have endless photos and videos of my daughter,
the photo was so obvious it was like she was calling the sky red by saying it wasn’t true, we all know the
sky isn’t red and she obviously doesn’t see my daughter as much as | do so how would she know she
doesn’t even know why they were taken in the first place and always mistakes me for someone else.

On August 20" of 2012 my daughter was hospitalized for a ruptured appendix, apparently had
been ruptured for a while and infected the outside of her uterus, and they had to do emergency surgery
and remove it. She stayed in the hospital 4 days. Two weeks prior my son was removed from Mr.

s home because the CPS worker stated he was being treated unfairly and Mr. D said he
wanted him out now, because he could not afford him anymore and could only afford his daughter.
They separated my children something they said they would never do, because what Mr. D /

| has only known my kids a few years he has neverbeen a par. .- 6 life and
beat my son black and blue once so | never let them go back to his house again, The kids have always
been deathly afraid of him you can read it is all over the counseling notes, they didn’t want to go there
in the first place and are too afraid to tell him that they don’t even really like him for fear of being beat.
CPS knew all of this and even heard it straight from my kids and yet still they placed them there. My
parents came forward as a placement option but were left out because the state made up a lie and Mr.

| followed suit in hopes to claim them both on his income tax which he tried to do even when they

were in foster care and | put a stop to it by alerting the IRS.

In 2011 | wasn’t able to see my kids for 6 weeks straight, and when | finally did get a hold of his
: | said “don’t you think you owe me for taking in your kids? We need a date with
the kids not around.” | couldn’t believe my ears and almost thought he was setting me up to get me into
trouble | was shocked. If | had known what his intentions were to get me in bed from the start | would
have told the state that. But when | told them after he said that they did not believe me despite the
facebook messages he was sending me and | still have copies of, they said | was lieing. I’m sorry why
would | wait 2 years later to bring up that lie?

Ur 6

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10/15/2020 Mail - myriam zayas - Outlook 40 (>
RE: RE: . °

McRae, Jamia (DSHS/CA) <MCRJ300@dshs.wa.gov>
Fri 8/10/2012 12:39 PM
To: myriam zayas <marandjazzmom@live.com>

Myriam,

We have the placement hearing for J jon the 21°, at 9am. If you show up..please tell the court your
concerns and why you want out the home. If you feel he is going to molest

information on him molesting kids please let me know. As a department, if we have no allegations, no prior
history of him molesting kids, then I can’t use that a reason to remove his daughter. While buying kids things.like
toys and games should be happening, as long as he is buying the basics of food, clothing, and shelter, then we are.
okay. That is his biological daughter. Please tell me the information you have. | don’t get why you correlate not
buying things for them or combing her hair would lead to him molesting J

PLAINTIFF’S
Thanks, EXHIBIT

Jamia McRae, MS\¥ . OD —\ O
Department of Social and Health Services _
CFWS Social Worker II!

(253) 476-6826

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disclosure, copying, distribution or other use of the contents of this information is prohibited. If you have received
this e-mail in error, please notify me by return e-mail and delete this message.

»
From: myriam zayas [mail*o:marandjazzmom@live.com] w
Sent: Friday, August 10, 2012 8:17 AM ;
To: McRae, jamia (DSHS/CA)
Subject: RE:

and you knew eat them black and blue t_aint even his child are you serious he told me i
owed him sex now wtf do you think he wants m_ ut for?? think about it you guys are so damn
BLIND i swear dont you so he doesnt love them he has never bought them anything and takes
everything they have and then trys to make them feel bad about it!! he has never given either of my
kids a damn thing «ity do you think fie treats j, better?? get a fucking clue child molesters do
the same thing they befriend their victims duh!!! ji told you dont take my sone outta there now i
want my daughter with my mom please my mom is dying what they accused my parents of was a lie
bold faced lie. my daughter needs out and you guys are repeating history i cant believe this is
happening she has no phone my god

From: MCRJ300@dshs.wa.gov
To: marandjazzmom@live.com

Subject: RE: Wed
Date: Thu, 9 Aug 2012 18:38:50 +0000 |
———

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10/15/2020 Mail - myriam zayas - Outlook
Good Morning,

A

's court hearing..it was ruled by the judge that Mj __had to be placed with his paternal cousin Ms.
have never forgotten about your parents nor have the department forgotten what we heard in

the 1° FTDM of the allegations against your parents. Whether they were true or not, | was not allowed to go
forward with look... .: your parerts for placement. This is not a racial issue at all..in fact far from it.

Thanks,

Jamia McRae, MSW

Department of Social and Health Services
CFWS Social Worker til

(253) 476-6826

| CONFIDENTIALITY NOTICE: This e-mail may contain confidential information which is legally privileged. Any
disclosure, copying, distribution or other use of the contents of this information is prohibited. If you have received
this e-mail in error, please notify me by return e-mail and delete this message.

From: myriam zayas [mailto:marandjazzmom@live.com]
Sent: Wednesday, August 08, 2012 11,02 AM

To: McRae, Jamia (DSHS/CA)

Subject:

| i dont know why you always seem to forget i have parents, but they are white so they prob never will
get my kids

4

https://outlook.live.com/mail/0/search/id/AQQKADAWATNiZmYAZCO5NmU2LTAWADR{LTAWAIOWMAOAEACD9CYkhAQUTorcME9vArer 2/2

Case 2:20-cv-00747-JCC Document 49
Forensic Laboratories

fob. Pram: B00) 282-8674
Loogl: (803) 489-B04g

. , AETS Labs
‘Bus # Gent ioaba
Tet Frees ORY P14 Baas:
Leah G31} GES-O16G Fax 1881) 993.0171

Cordant

_Heelth Solutions™

Donor Name: MYRIAM ZAYAS
DOB:
Specimen ID: 150584043
Reference #: 8592113
Requested By:

Agency: CA REGION 4-DSHS-#01 109
Sub-Agency: CA R4 - KING WEST

Collection Site: CA- SQUARE ONE

Test Reason:
Type (Matrix):
Collected By:
Collected: 6/2/2015
Received: 6/4/2015
Reported: 6/4/2015
External ID: NA
Patient ID: 481288

Filed 02/04/21 Page 26 of 102
Sorling Reference Labosatories.
CUA-B SOD2043 123
Toll Frew: (BOD) aaeSB
Locah (2B3) O82. 1551 Pun (259) BO. 1849

ibeal: (BOR) 82
Fax 08) 831-0803

M cl, \o ct
Zo”)

Title: Social Worker

Urine

12:00 AM
03:49 PM
08:35 PM

Method | Cutoff __|Notes

Amphetamine Screen
Benzodiazepines Screen
Opiates Screen
Oxycodone Screen

Cannabinoids Screen

Cocaine Screen

MDMA Screen

Test Result Outcome

| NEGATIVE

NEGATIVE
NEGATIVE
NEGATIVE
NEGATIVE

| EIA __| 500ng/mt |

Method Cutoff Notes

NORMAL
NORM AL

Creatinine 223.3 mg/dL
pH 5.7

Colorimetric | >= 20 mg/dL
4.5- 8.9

Colorimetric

Nitrite 70 meg/mL NORMAL | Colorimetric 1500 meg/mL

Testing performed at Sterling Reference Laboratories, 2617 ELS Ste A, Tacoma, WA 98421, CLIA #50D2043123

Key Summary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
The treating provider must make all clinical decisions and the provider is responsible for the interpretation of this data for the treatment of
the individual patient’s medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

All positive screening test results and semi-quantitative values obtained from a screening test should be considered presumptive until
confirmed with a specific and sensitive alternate method such as GC/MSor LYMSMS

Dr. anetta Bryksin

Donor Name: MYRIAM ZAYAS
Report ID: 7308230

150584043
Page 1 of 1

Reference #: 8592113
FINAL REPORT

Specimen ID:

Case 2:20-cv-00747-JCC Document 49 Filed 02/04/21 Page 27 of 102

Pig utr apa F Forandis Laboratories SECON of New. England Sterling Reference Laboratories
vias i an Gus #s00r ae wot OODLBRI0E CUA CLIA #SUDR4a 125
= EE Toll Frees (88) 214: e 2&8 Leeah Og} 88 ht 68 Toil Free: (800) 48

“Health Sotutigns=’ e680 923.0166 Fen 631) 9220077 “Lea (G03) 469-8042 -—=—Fan (GOR) 831-0803 Locale (293) 582-1851 Fax (253) 562-1549

Donor Name: MYRIAM ZAYAS Test Reason:
DOB: Type (Matrix): Urine

Specimen ID: 150622855 Collected By:
Reference #: 8592118 Collected: 6/9/2015 12:00 AM
Requested By: Received: 6/11/2015 12:27PM
Reported: 6/12/2015 04:26 PM

Agency: CA REGION 4-DSHS-#01 109 External ID: NA
Sub-Agency: CA R4 - KING WEST Patient ID: 481288

Donor ID: 481288 NAME: WILSON
Collection Site: CA- SQUARE ONE Title: Social Worker

[Result | Outcome | Method | cutoff [Notes
| | ecative | ea | 200ngmt |
_ Opiates Screen | | secative | ea__| 300ng/mt |
Oxycodone Screen _ | | ecatve | eA __| 100ng/mi |
" Cannabinoids Screen rr NS a8
| EIA __| 300 ng/mt |

MDMA screen PBA | 500 nomi |

Test Outcome Method Cutoff jNotes
Creatinine 172.6 mg/dL | NORMAL | Colorimetric | >= 20 mg/dL.
pH 7.7 NORMAL [| Colorimetric | 4.5 -8.9
Nitrite 8.mcg/mL NORMAL | Colorimetric § 500 meg/mL

Testing performed at Serling Reference Laboratories, 2617 ELSt Se A, Tacoma, WA 98421, CUA #50D2043123

Kay Summary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on.the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
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the individual patient's medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

All positive screening test results and semi-quantitative values obtained from a screening test should be considered presumptive until
confirmed with-a specific and sensitive alternate method such as GC/MSor LYMSYMS

Dr. Janetta Bryksin

Donor Name: MYRIAM ZAYAS Reference #: 8592118 Specimen ID: 150622855
Report iD: 7736906 FINAL REPORT Page 1 of 1

Case 2:20-cv- 00747- Jce Document 49 Filed 02/04/21 Page 28 of 102

oe F . Forunslc: Laboratories SECON of New England: ‘Sterling Reference Laboratories
Lon ant a HE: ee 3 HODwoR26he Gh # 22009 CHAS SED Gas iea

ee Yell Free: (800) 282-4574 Local (S08)-84 1-708. Tou Fie: BOO) Mago se
“Heath Solutions” ‘Lokal: 1631) 922-0166 Fax: (632) 923-0171 Luca GOS) 450.B048 Fas (S08).833 0802 Lecah (258) S62-185 1 Fax (253) 852-2546

Donor Name: MYRIAM ZAYAS Test Reason: MEDICATIONS:
DOB: Type (Matrix): Urine
Specimen ID: 150670351 Collected By:
Reference #: 8592123 Collected: 6/17/2015 12:00 AM
Requested By: Received: 6/19/2015 01:55PM
Reported: 6/19/2015 07:08PM
Agency: CA REGION 4-DSHS-#01109 External 1D: NA
Sub-Agency: CA R4 - KING WEST Patient ID: 481288

Donor ID: 481288 NAM E: WILSON
Collection Site: CA- SQUARE ONE Title: Social Worker

|__Result | Outcome | Method | Cutoff [Notes
Amphetamine Screen PT necative | tA _ | 1000 ng/mL
Benzodiazepines Screen |S ecative [| ea | 200ng/mL |
Cannabinoids Screen P| necative | ea _| 20ng/mt |
Cocaine Screen | | ecative | iA | 300 ng/mL |
MDMA Screen P| necaive | BA | 500ng/mi |

Test Result Outcome Method Cutoff Notes
Creatinine 213.6 mg/dL } NORMAL | Ootorimetric | >= 20 mg/db
pH 5.4 NORMAL | Colorimetric | 4.5- 8.9
Nitrit 0 mcg/mL NORMAL = | Colorimetric | 500 meg/mL

Testing performed at Sterling Reference Laboratories, 2617 ELSt Se A, Tacoma, WA 98421, CLIA # 50D2043123

Key Summary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
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the individual patient’s medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

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confirmed with a specific and sensitive alternate method such as GC/MSor LYMSMS

Dr. Janetta Bryksin

Donor Name: MYRIAM ZAYAS Reference #: 8592123 Specimen ID: 150670351
Report ID: 8109803 FINAL REPORT Page 1 of 1

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or ary _ Clive Sanrieaz5a “CLIAW 2200928600 — CUA # SOD2048 125

hy WEGAE EG __ tal Peeren) 14gaae eeal: (608) 831-0708 Toit Fie: (800}442.0438
Health Solutidae™ — Latdl- 1631) 928-0166 Fan. (681) 428.0171 Fam (208) 8310803 Locals (7S8)$82-1851 Fax (253) 582-4549

Donor Name: MYRIAM ZAYAS Test Reason: MEDICATIONS:
DOB: Type (Matrix): Urine
Specimen ID: 150702065 Collected By:
Reference #: 8592132 Collected: 6/23/2015 12:00 AM
Requested By: Received: 6/25/2015 05:50 PM
Reported: 6/26/2015 08:12AM
Agency: CA REGION 4-DSHS-401109 External ID: NA
Sub-Agency: CA R4 - KING WEST Patient ID: 481288

Donor ID: 481288 NAME: WILSON
Collection Site: CA- SQUARE ONE Title: Social Worker

eeesult | Outcome | Method | Cutoff__ [Notes
Benzodiazepines Screen | sNEGATIVE |
MDMA Screen feet NEGATIVE | EIA | 500 ng/mi |

Test Result Outcome Method Cutoff [Notes
Creatinine 201.4mg/dL | NORMAL | Colorimetric }5= 20 mg/dL
pH 5.0 NORMAL Colorimetric 4.5-8.9
Nitrite 59 meg/mL NORMAL _ [| Colorimetric | 500 meg/mL

Testing performed at Sterling Reference Laboratories, 2617 ELSt Ste A, Tacoma, WA 98421, CLIA #50D2043123

Key Summary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
The treating provider must make all clinical decisions and the provider is responsible for the interpretation of this data for the treatment of
the individual patient's medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information,

All positive screening test results and semi-quantitative values obtained from a screening test should be considered presumptive until
confirmed with a specific and sensitive alternate methad such as GC/M Sor LOMYMS

Dr. Janetta Bryksin

Donor Name: MYRIAM ZAYAS , Reference #: 8592132 Specimen ID: 150702065

Report ID: 8424558 FINAL. REPORT Page 1 of 1

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Case 2:20-cv-00747-JCC Document 49 _ Filed 02/04/21 Page 30 of 102

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‘fou Free: BONY sod SA

Tol Prec: ROD) 282-65 74
Lacaiy G03) 489-B042

“Healt Soliiians nels 2917 923.0166 Fax: t

Donor Name: MYRIAM ZAYAS Test Reason: MEDICATIONS:
DOB: “Type (Matrix): Urine
Specimen ID: 150793623 Collected By:
Reference #: 104287843 Collected: 7/11/2015 12:00 AM
Requested By: Received: 7/13/2015 11:19PM

Reported: 7/14/2015 02:28 PM
Agency: NEW LIFE RECOVERY SOLUTIONS External ID: NA
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS Patient ID: 706612

Donor ID: NA
result | Outcome | Method | Cutoff [Notes

Amphetamine Sreen || NEGATIVE [GIA | 1000 ng/ml

Benzodiazepines Screen | EIA | 200ng/mt |

EDDP Screen ) | ecative | ca | 300ng/mt | Methadone Metabolite
Opiates Screen ee NEGATIVE | EIA | 300.ng/mt |

Oxycodone Screen

Cannabinoids Screen NEGATIVE
Gocaine Sereen ree NEGATIVE [EIA | 300 ng/mL |

Ethanol Soreen NEGATIVE

Ethyl glucuronide Screen | secative | BA ‘[ 500ng/mt |

Test Result Outcome Method Cutoff jNotes
Creatinine 146.0 mg/dL | NORMAL | Colorimetric | >= 20 mg/dL
pH 8.7 NORMAL
Nitrite 45 meg/mL NORM AL

Testing performed at Sterling Reference Laboratories, 2617 ELS Ste A, Tacoma, WA 98421, CLUIA #50D2043123
Key Summary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history pravided with each specimen. Cordant Health Solutions does not verify provided medication history.
The treating provider must make all clinical decisions and the provider is responsible for the interpretation of this data for the treatment of

the individual patient’s medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

Dr. Janetta Bryksin

Bonor Name: MYRIAM ZAYAS Reference #: 104287843 Specimen ID: 150793623

Report ID: 9312333 FINAL REPORT Page 1 of 1

Sterling Reference Laboratories

Loca (288) 582: 188) Pax (259) 869-tR49
Case 2:20-cv-00747-JCC Document 49 Filed 02/04/21 Page 31 of 102

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_ Clik eSabTseba CLIA§ BODOBRAGES- CIA # 2200928629 COA S0D20483125
q Toit Free: @00) 2B2-65I8 Lgeal (S08) 82 L-0708 You Free: ROD) 482.0498
aad: (631) G8S-0166 Fax: (eat saa.0171 Lowa: GOR) ABS-BO42 Fan: (808).831-0803 tooah T25R)S82-1851 Fax (258) 85

Donor Name: MYRIAM ZAYAS Test Reason: MEDICATIONS:
DOB: Type (Matrix): Urine
Specimen ID: 150830978 Collected By:
Reference #: 104287878 Collected: 7/18/2015 12:00 AM
Requested By: Received: 7/20/2015 10:50 PM
Reported: 7/22/2015 01:09PM
Agency: NEW LIFE RECOVERY SOLUTIONS External ID: NA
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS Patient ID: 706612

Donor ID: NA
|__Result_ | Outcome | Method | Cutoff __ |Notes
Amphetamine Soreen Lee NEGATIVE | EIA | 1000 ng/mb
Benzodiazepines Screen | sd NEGaTIVE | BIA | 200 ng/mL |

Opiates Ssreen ee NEGATIVE | BA | 200rng/ mi
_cxycodone Screen Lee NEGATIVE | EIA | 100 ng/ml |
Cannabinoids Screen | L NEGATIVE | BIA 50 ng/mL |
Cocaine Sereen PT necative | BA | 300ng/mt |
Ethyl glucuronide Screen | Negative [EIA [ 500 ng/mL |

Test Result Outcome Method Cutoff
Creatinine 184.9 mg/dL | NORMAL | Colorimetric }>= 20 mg/dL
pH 5.6 NORMAL [| Colorimetric
Nitrite 70 meg/mL NORMAL | Colorimetric [500 meg/mL

Testing performed at Sterling Reference Laboratories, 2617 EL& Se A, Tacoma, WA 98421, CLIA # 50D0891660

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based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
The treating provider must make all clinical decisions and the provider is responsible for the interpretation of this data for the treatment of
the individual patient’s medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

Dr. Janetta Bryksin

Donor Name: MYRIAM ZAYAS Reference #: 104287878 Specimen ID: 150830978
Report ID: 9711531 FINAL REPORT Page 1 of 1

Case 2:20-cv-00747-JCC Document 49 Filed 02/04/21 Page 32 of 102

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oe NUnit roe, Tall Sree: (BOD) 2E2-G 74 beesh (508) 82 L-pyas oll Prue: (800) daa gs
Health Solutions” -Leosty G03) 489.8049 Faw (S08). 431-0803 Local: 258)582-155] Pax (2597 Bee. Tsao

Donor Name: MYRIAM ZAYAS . Jest Reason: MEDICATIONS:
DOB: Type (Matrix): Urine
Specimen ID: 150904892 Collected By:
Reference #: 104162273 Collected: 8/1/2015 12:00 AM
Requested By: Received: 8/3/2015 09:55 PM

Reported: 8/4/2015 07:12 AM
Agency: NEW LIFE RECOVERY SOLUTIONS External 1D: NA
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS Patient ID: 706612

ere NEGATIVE | EIA | 1000 ng/mi |
EDDP Screen | ts ecative [ ea | 200ngmt | Methadone Metabolite
Opiates Screen
Oxycodone Screen | sSNEGATIVE |
Cocaine S&reen
Ethanol Screen | |sNEGATIVE |
Ethyl glucuronide Screen P| NEGATIVE | EIA | 500 ng/mi |

Test Result Outcome Method Cutoff [Notes
Creatinine 181.2 mg/dL | NORMAL | Colorimetric | >= 20 mg/dL
pH 5.2 NORMAL | Colorimetric] 4.5 -8.9
Nitrite 37 meg/mL. NORMAL _ [ Colorimetric | 500 meg/mL

Testing performed at Sterling Reference Laboratories, 2617 EL&t Ste A, Tacoma, WA 98421, CLIA # 50D0891660
Key Summary comments and notations de not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
The treating provider must make all clinical decisions and the provider is responsible for the interpretation of this data for the treatment of

the individual patient’s medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

Dr. Janetta Bryksin

Donor Name: MYRIAM ZAYAS Reference #: 104162273 Specimen ID: 150904892
Report ID: 10313089 FINAL REPORT Page 1 of 1

Case 2:20-cv-00747-JCC Document 49 _ Filed 02/04/21 Page 33 of 102

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AU r an Gif # SORT Log254 OLA # HEDIGaZ6ba “CLA # 3629 Clik # 8002043123
“ae gr = se Tot Free (8G) S14 Bday Yall Free: (BOD) 282-6874 Lgal: Jou Figs: (800) 4000458

Healt Sauitiong™ Lote (EFL) 028-0165 tax: (Gal) Ses.oit Anes BOG) ABS-BO4g Fan (GOR) 833 Og09 Locah $253)'682-1681 Pax (253) a2 Tad

Donor Name: MYRIAM ZAYAS _ Fest Reason: MEDICATIONS:
DOB: Type (Matrix): Urine
Specimen ID: 150940608 Collected By:
Reference #: 104162347 Collected: 8/8/2015. 12:00 AM
Requested By: Received: 8/10/2015 07:46PM
Reported: 8/11/2015 11:23 AM

Agency: NEW LIFE RECOVERY SOLUTIONS External ID: NA
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS Patient ID: 706612

Donor 1D: NA

Amphetamine Screen

EDDP Screen
Opiates Screen
Oxycodone Screen

Cannabinoids Screen
THC/ Creatinine Ratio

Ethanol Screen

Ethyl glucuronide Screen | TsNEGATIVE 500 ng/mL

Test Result Outcome Method Cutoff Notes
Creatinine 91.4 mg/dL NORMAL | Colorimetric | >= 20 mg/dL
pH 94 INVALID pH Meter 4.5-8.9
Nitrite 22 f NORMAL _ |{ Colorimetric 1500 mcg/mL.

Testing performed at Sterling Reference Laboratories, 2617 EL& Se A, Tacoma, WA 98421, CLIA|# 5000891660

Key Summary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
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the individual patient’s medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

Dr. Janetta Bryksin

Donor Name: MYRIAM ZAYAS Reference #: 104162347 Specimen ID: 150940608
Report 1D: 10658272 FINAL REPORT : Page 1 of 1

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Local: (631) 925-0166 Fax (631)-.999-0171 Local; (203) 460-8042 Fase (508) 631-0808 bocgl: (208)°552-1561 Fax: (253) 652-1549

Donor Name: MYRIAM ZAYAS Test Reason:
DOB: Type (Matrix): Urine
Specimen ID: 150978080 Collected By:
Reference #: 104162369 Collected: 8/15/2015 12:00 AM
Requested By: . Received: 8/17/2015 08:12 PM

Reported: 8/18/2015 07:28AM
Agency: NEW LIFE RECOVERY SOLUTIONS External ID: NA
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS Patient ID: 706612

Donor ID: NA

Benzodiazepines Screen

EDDP Screen M ethadone Metabolite
Opiates Screen

Oxycodone Screen

Cannabinoids Screen
THC/ Creatinine Ratio

Ethanol Screen
Ethyl glucuronide Screen

Test Result Outcome Method Cutoff Notes
pH 8.6 NORMAL pH Meter 4.5 - 8.9
Creatinine 122.5 mg/dL | NORMAL | Colorimetric | >= 20 mg/dL
Nitrite NORMAL _ | Colorimetric | 500 meg/mL

Testing performed at Sterling Reference Laboratories, 2617 EL & Ste A, Tacoma, WA 98421, CLIA #50D0891660

Key Summary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
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the individual patient’s medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

Dr. Janetta Bryksin

Donor Name: '. MYRIAM ZAYAS Reference #: 104162369 Specimen ID: 150978080
Report 1D: 10990283 FINAL REPORT Page 1 of 1

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L i # reaps ose
Tall Frees (8G) 214-84dd
1) 923-0166 Fax (631) 923-0171

Health Solutions® teal 1621

Donor Name: MYRIAM ZAYAS

DOB:
Specimen ID: 151015458
Reference #: 104371249

Requested By:

Agency: NEW LIFE RECOVERY SOLUTIONS
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS

Donor ID: NA

Amphetamine Screen

Oxycodone Screen

Cannabinoids Screen
THC/ Creatinine Ratio

Cocaine Screen
Ethanol Screen

Ethyl glucuronide Screen

Test

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SECON of New E

# 2200028629
Leah : (om 8310708
Fai (508) 831-0803

Fofensic Laboratories:
CLEA # O6LO82654
“Tou Frees (G00) 282-6574

Local: (203) 469-3042:

Test Reason: MEDICATIONS:
“Type (Matrix): Urine
Collected By:
Collected: 8/22/2015
Received: 8/24/2015
Reported: 8/25/2015
External ID: NA

Patient ID: 706612

12:00 AM
10:23 PM
01:09 PM

| | NEGATIVE | EIA | 1000 ng/mL |

P| necarive | eta __| 200 ng/mt |

| ——ssNeGATIVe | tA _| 300 ng/mt [Methadone Metabolite
—e

| | necative | EIA | 100ng/mt |

Le NEGATIVE | EIA | 300 ng/mt |

eet NEGATIVE | EIA | 500 ng/mL |

Result Outcome Method Cutoff Notes

Page 35 of 102
England Sterling Reference Labotatories

veins A# 5SODOS9 1660
ToL Frees BOG) 440d 38

Leegk: (253) 652-1551 Fax: (253) 652-1549

Creatinine —
pH
Nitrite

144.8 mg/dL | NORMAL
8.0 NORMAL
24 meg/mL NORMAL

Colorimetric | >= 20 mg/dL
4.5 -8.9
Colorimetric | 500 mcg/mL

Colorimetric

Testing performed at Sterling Reference Laboratories, 2617 EL& Ste A, Tacoma, WA 98421, CLIA # 50D0891660

Kay Summary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
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the individual patient’s medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this

information.

_ Dr. fanetta Bryksin

Donor Name: MYRIAM ZAYAS

Report 1D: 11350350

Reference #:. 104371249
FINAL REPORT

Specimen ID:

151015458
Page 1 of 1

Case 2:20-cv- 00S yee Document 49
Forensic

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Health Solutions

Donor Name: MYRIAM ZAYAS

DOB:

Specimen ID: 151052648
Reference #: 104371210

Requested By:

Agency: NEW LIFE RECOVERY SOLUTIONS
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS

Donor ID: NA

Amphetamine Screen
Benzodiazepines Screen

EDDP Screen

Opiates Screen

Oxycodone Screen

Cannabinoids Screen
THC/ Creatinine Ratio

Cocaine Screen
Ethanol Screen

Ethyl glucuronide Screen

Test

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Local: (08) 831-0708

Fay (508) 831-0808

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TOR Free (B00) 282.
Local: (303) 469-8042:

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Test.Reason: MEDICATIONS:
Type (Matrix): Urine
Collected By:
Collected: 8/29/2015 12:00 AM
Received: 8/31/2015 11:23PM
Reported: 9/1/2015 03:45 PM
External ID: NA

Patient ID: 706612

P| wecative [eta | 1000ng/ mt
P| necarve | a | 200ng/mi
P| wecamve | eta | 300

P| necarve | ea | 900ng/mt |

{| necative | ea__| 100 ng/mt |

PT necarive | cia | 300ng/mt |
P| necamive | ela | 20mg/dt_|
pT Necarive | BA | s00ngmt |

Result Outcome | Method Cutoff [Notes

Sterling Reference Laboratories
sae Ad SODOSUNGEO
Foul Free) (BOO) 442.0438
bocel: (253) 552-1551 Fax: (253) 852-1549

Creatinine 284.9 mg/dL | NORMAL | Colorimetric | >= 20 mg/dL
pH 6.7 NORMAL | Colorimetric] 4.5 - 8.9
Nitrite 47 meg/mL NORMAL | Colorimetric | 500 meg/mL

Testing performed at Sterling Reference Laboratories, 2617 ELS Ste A, Tacoma, WA 98421, CLIA # 50D0891660

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the individual patient’s medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

Dr. Janetta Bryksin

151052648
Page 1 of 1

Donor Name: MYRIAM ZAYAS
Report 1D: 11703543

Reference #: 104371210
FINAL REPORT

Specimen ID:

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| an LIA Sa 1108258. LF OGDNSB2EEH. ‘GLIA 2200928629 SLAs SOD0SB1660

_ WN Free 888) 2148404 = To Frees (800) 282-6074 Local: (G08) 831-0708 Fall Free! (B00) 442.0438
Health Sotutigng® Cal (031) 823-0168 Faw (631).923-0171 469-8042: Fre (508) 8310803 _Lecal: (253) 982-1551 Fax: (253) 5a2-1549

Donor Name: MYRIAM ZAYAS Test: Reason: MEDICATIONS:
DOB: Type (Matrix): Urine
Specimen ID: 151097375 Collected By:
Reference #: 104371184 Collected: 9/5/2015 12:00 AM
Requested By: Received: 9/9/2015 09:50 PM
Reported: 9/10/2015 08:06 AM
Agency: NEW LIFE RECOVERY SOLUTIONS External ID: NA
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS Patient ID: 706612

Donor ID: NA

Amphetamine Screen | |sNEGATIVE 1000 ng/mL

Oxycodone Soren | | NEGATIVE

Cannabinoids Screen NEGATIVE EIA 50 ng/mL
THC/ Creatinine Ratio
Cocaine Screen |} NEGATIVE 300 ng/mL

Ethanol Screen || NEGATIVE 20 mg/dL
Ethyl glucuronide Screen | | NEGATIVE 500 ng/mL

Test Result Outcome Method Cutoff Notes
pH 8.8 NORMAL [| pHMeter] 4.5-8.9
Creatinine 126.2 mg/dl | NORMAL = | Colorimetric | >= 20 mg/dL
Nitrite 42 meg/mL NORMAL | Colorimetric | 500 mcg/mL

Testing performed at Sterling Reference Laboratories, 2617 ELS Ste A, Tacoma, WA 98421, CLIA # 50D0891660

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the individual patient's medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

Dr. Janetta Bryksin

Donor Name: MYRIAM ZAYAS Reference #: 104371184 Specimen ID: 151097375
Report ID: 12083216 FINAL REPORT Page 1 of 1

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Toll Frees (888) PA BAda Toll Free: (800) 2826674 Local: (608) 831-0703 Toll Free: (800) 4420433.
oeal: (681)923-0166 Fax (631).923-0171 Locals (303) 469-8042. Fax. (508) 31-0803 _Leeal: (258) 662.1551 Fax: (259) 552-1549

Donor Name: MYRIAM ZAYAS Test Reason: / MEDICATIONS:
DOB: Type (Matrix): Urine
Specimen ID: 151121256 Collected By:
Reference #: 104371304 Collected: 9/12/2015 12:00 AM
Requested By: Received: 9/14/2015 09:41PM
Reported: 9/15/2015 02:38 PM
Agency: NEW LIFE RECOVERY SOLUTIONS External ID: NA
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS Patient ID: 706612

Donor ID: NA

Amphetamine Screen || UNEGATIVE 1000 ng/mL
Benzodiazepines Screen Fo NEGATIVE | BA | 200 ng/mL

Opiates Screen | NEGATIVE 300 ng/mL
Oxycodone Screen | dsNEGATIVE 100 ng/mL

Cannabinoids Screen
THC/ Creatinine Ratio

Cocaine Screen | NEGATIVE 300 ng/mL
Ethanol Soreen serra all
NEGATIVE | EIA | 500 ng/mL

Result Outcome Method Cutoff Notes
Creatinine 173.1.:mg/dL | NORMAL | Colorimetric | >= 20 mg/dL
pH 7.5 NORMAL j Colorimetric] 4.5-8.9
Nitrite 95 meg/mL NORMAL | Colorimetric 1500 meg/mL

Testing performed at Sterling Reference Laboratories, 2617 ELSt Se A, Tacoma, WA 98421, CLIA # 50D0891660

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based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
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the individual patient’s medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

Dr. Janetta Bryksin

Donor Name: MYRIAM ZAYAS Reference #: 104371304 Specimen ID: 151121256
Report ID: 12328087 FINAL REPORT Page 1 of

Forensic
GLIA # OBDOSB2B54- CLIA # 2200928629 CUA# SODOBELGES

Toll Free; (800) 2826874 Local: (608) 831-0708 Toll Free: (B00) 442.0438,
Local; (203} 469-8042: Fax (508) 831-0803  ecal: (253) 952-1561 Fax: (259) 552-1949

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Donor Name: MYRIAM ZAYAS Test Reason: ses MEDICATIONS:
Dos: Type (Matrix): Urine
Specimen ID: 151159374 Collected By:
Reference #: 104371348 Collected: 9/19/2015 09:35 AM
Requested By: Received: 9/21/2015 10:03 PM
Reported: 9/22/2015 08:05 AM
Agency: NEW LIFE RECOVERY SOLUTIONS External ID: NA
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS Patient ID: 706612

Donor ID: NA

Amphetamine Screen NEGATIVE 1000 ng/mL

Oxycodone Screen |. sd sNEGATIVE 100 ng/mL

Cannabinoids Screen NEGATIVE 50 ng/mL
THC Creatinine Ratio

Cocaine Screen Fo NEGATIVE 300.ng/mL
Ethanol Screen || NEGATIVE 20 mg/dL
Ethyl glucuronide Screen | ss NEGATIVE 500 ng/mL

Test Result Outcome Method Cutoff Notes
Creatinine 211.7 mg/dL.| NORMAL | Colorimetric | >= 20 mg/dL.
pH 75 NORMAL | Colorimetric | 4.5 - 8.9
Nitrite 4-153 meg/mL | NORMAL | colorimetric | 500 meg/mL

Testing performed at Serling Reference Laboratories, 2 S&S Ste A, Tacoma, WA 98421, CLIA # 50D0891660

Key Summary comments and notations de not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
The treating provider must make ail clinical decisions. and the provider is responsible for the interpretation of this data for the treatment of
the individual patient’s medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

Dr. Janetia Bryksin

Donor Name: MYRIAM ZAYAS Reference #: 104371348 Specimen ID: 151159374
Report ID: 12652053 _FINALREPORT = Page 1 of 1

2 2:20-Cv-00 7 KACC Document 49 _ Filed 02/04/21 Page 40 of 102

2 Forensic Laboratories SECON of New England Sterling Reference Laboratories
GLIAH 9301108254. GLIA # O6DO9R2654- SUA# 2200928629 CUA #SUD0BG166U
TOL Free: (G8) 214-B4a4 Well Frees 4800) 22-6974 Local (808) 831-0708 Tol Free (B00) 4620098

‘ocals (631)'928-0168 Pax (631)-903-0171 Local: (203) 469-9042. _ Fax (508) 8310803 aegis (253) 983-1551 Fax, (253) 552-154

it

Donor Name: MYRIAM ZAYAS Test Reason: MEDICATIONS:
DOB: Type (Matrix): Urine
Specimen ID: 151195346 Collected By: .
Reference #: 104371371 Collected: 9/26/2015 09:45AM
Requested By: Received: 9/28/2015 10:28PM

Reported: 9/29/2015 05:18AM
Agency: NEW LIFE RECOVERY SOLUTIONS External ID: NA
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS Patient ID: 706612

Donor ID: NA

|_Fesult_ | Outcome [ Method [cutoff [Notes

ue
300 ng/mL_|Methadone Metabolite

ao

Opiat NEGATIVE

re

ne fu

Cannabinoids Screen
_THC/ Creatinine Ratio

oe

Ethanol Screen

Ethyl glucuronide Soreen | NEGATIVE 500 ng/mL

Test Result Outcome Method Cutoff Notes
Creatinine 173.1 mg/dL NORMAL | Colorimetric [>= 20 mg/dL
pH 7.6 NORMAL | Colorimetric} 4.5- 8.9
Nitrite 25 meg/mL NORMAL _ | Colorimetric | 500 meg/mL

Testing performed at Sterling Reference Laboratories, 2617 ELS Ste A, Tacoma, WA 98421, CLIA # 5000891660
Key Summary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
The treating provider must make all clinical decisions and the provider is responsible for the interpretation of this data for the treatment of

the individual patient's medical condition. Cordant Health Solutions dees not assume any responsibility for patient outcomes based upon this
information.

Dr. Janetta Bryksin

Donor Name: MYRIAM ZAYAS Reference #: 104371371

Specimen ID: 151195346
Report ID: 12987317 FINAL REPORT Page 1 of 4

nt 2:20-cv-0074, Yeo Document 49 Filed 02/04/21 Page 41 of 102
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Forensic Laboratories SECON of New England Sterling Reference Labotatorias
fn CLIA# S30 1 108254 GLIA # D6DOS82654. CLIN# 2200928629 CUA# 5000801660

pak a Toll Free(B88) 214-8404 Tol Frees{800) 282-6574 Local (808}-831-0708 Tall Free: (800) 442.0038
Health Solutions”  -0cal (631/923-0168 Fae (631).923-0171 Local (303) 4609-8042. Fax (508) 631-0803 Local (253) 952-1551 Fax: (253) 562-1546

Donor Name: MYRIAM ZAYAS Test Reason: :
DOB: Type (Matrix): Urine
Specimen ID: 151232257 Collected By:
Reference #: 104567257 Collected: 10/3/2015 12:00 AM
Requested By: Received: 10/5/2015 10:51 PM

Reported: 10/6/2015 04:15 AM
Agency: NEW LIFE RECOVERY SOLUTIONS External ID: NA
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS Patient ID: 706612

Donor ID: NA

Tae

oS

| NEGATIVE

oe

300 ng/mL {Methadone Metabolite

Cannabinoids Screen
THC Creatinine Ratio

ee aS

Cocaine

Ethanol Screen | sNEGATIVE 20 mg/dL

Ethyl glucuronide Screen 500 ng/mL

Test Result Method Cutoff Notes
Creatinine 125.7 mg/dL Colorimetric | >= 20 mg/dL

pH 8.6 pH Meter} 4.5-8.9
Nitrite 7 meg/mL Colorimetric | 500 mcg/mL

Testing performed at Sterling Reference Laboratories, 2617 EL& Se A, Tacoma, WA 98421 , GLIA # 5000891660
Key Summary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
The treating provider must make all clinical decisions and the provider is responsible for the interpretation of this data for the treatment of

the individual patient's medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information. :

S foF Dr. Laura Bechtel

Donor Name: MYRIAM ZAYAS Reference #: 104567257 Specimen ID: 151232257

Report {D: 13324848 ' FINAL REPORT

Page 1 of 1

Case 2:20-cv- 00 rei Jee Document 49 Filed 02/0 4G Page 42 of 102
Forensic Labetateries SECON of New England Sterling Reference Laboratories

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Locals (631) oa aiee Fae 651) 9330171 Local: (303) 469-3042. Fax, (508) 231-0803 boogl: (259) SA2-1561 Fax: 1253) 552-1549

Donor Name: MYRIAM ZAYAS Test Reason: MEDICATIONS:
DOB: . Type (Matrix): Urine
Specimen ID: 151268932 Collected By:
Reference #: 104567372 Collected: 10/10/2015 12:00 AM
Requested By: Received: 10/12/2015 10:43 PM
Reported: 10/13/2015 02:24AM
Agency: NEW LIFE RECOVERY SOLUTIONS External ID: NA
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS Patient ID: 706612

Donor ID: NA

Method [__-cutott__|Notes
Co

Cannabinoids Screen
THC/ Creatinine Ratio

Cocaine Screen

Ethyl glucuronide Screen | NEGATIVE 500 ng/mL

Result Outcome Method Cutoff Notes
pH 8.3 NORMAL | pH Meter 4.5 - 8.9
Creatinine 105.1 mg/dL | NORMAL = | Colorimetric | >= 20 mg/dL
Nitrite 11 moeg/mL NORMAL — | Colorimetric 1500 meg/mL

Testing performed at Sterling Reference Laboratories, 2617 ELS Ste A, Tacoma, WA 98421, CLIA # 50D0891660

Key Summary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
The treating provider must make all clinical decisions and the provider is responsible for the interpretation of this data for the treatment of
the individual patient’s medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

Dr. Laura Bechtel

Donor Name: MYRIAM ZAYAS Reference #: 104567372 Specimen ID: 151268932
Report ID: 13662752 FINAL REPORT Page 1 of 1

-20-cv- _ cument49 Filed 02/04/21 Page 43 of 102 _ _
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“Health Solutions® “0Cal 1634) 923-0268 Fee (631)-993-0171 Locab (03) 489-8049 bocd: (258) 652-1551 Fax. 1299) had-P540

Donor Name: MYRIAM ZAYAS Test Reason:

DOB: Type (Matrix): Urine
Specimen ID: 151305968 Collected By: oO
Reference #: 104524615 Collected: 10/17/2015 12:00 AM
Requested By: Received: 10/19/2015 11:49 PM

Reported: 10/20/2015 11:18AM
Agency: NEW LIFE RECOVERY SOLUTIONS External ID: NA
Sub-Agency: NEW LIFE RECOVERY SOLUTIONS Patient ID: 706612

Donor ID: NA

Amphetamine Screen
_ Benzodiazepines Screen
EDDP Screen

Opiates Screen
LS oo

Oxycodone Screen NEGATIVE

Cannabinoids Screen
THC) Creatinine Ratio
gies oe

Cocaine Screen

Test Result Outcome Method Cutoff Notes
Creatinine 133.1 mg/dL NORMAL | Colorimetric } >= 20 mg/dL
pH 6.3 NORMAL | Colorimetric 4.5-8.9
Nitrite : 70. meg/mL. NORMAL | Colorimetric {500 meg/mL

Testing performed at Sterling Reference Laboratories, 2617 ELS Se A, Tacoma, WA 98421, CLIA # 50D0891660
Key Summary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions does not verify provided medication history.
The treating provider must make all clinical decisions and the provider is responsible for the interpretation of this data for the treatment of

the individual patient’s medical condition. Cordant Health Solutions does not assume any responsibility for patient outcomes based upon this
information.

; ee Dr. Laura Bechtel

Donor Name: MYRIAM ZAYAS ’ Reference #: 104524615 Specimen ID: 151305968
Report 1D: 14093397 FINAL REPORT Page 1 of 1

Case 2:20-cv-00747-JCC »©Document 49 _ Filed 02/04/21 Page 44 of 102

‘€

ZAYAS, MYRIAM _| 481288 43618426 [

Case Note Category: CPS Case Note Type: Investigation

Date Occurred: 11/07/2016 Time Occurred: 01:30 PM

Date Entered: 11/09/2016.09:53 AM Note Entered by:

Related Participants and Collaterals: Related Intakes:
a Zs 11/02/2016 1:48 PM 3495469

ACTIVITIES

Activity: Child - Initial Face to Face with Child Participant: I I HY Zayas
Location: School Time: 01:30 PM TCM: No -

CONTACTS

NARRATIVE

CaseNotels.:  Entercd By: (ERD. Date Entered : 11/09/2016
Time Entered : 09:53 AM oe

Met with daycare staff at the YMCA CDC, Bellevue to discuss {il presentation as she is in
school today. They reported that she is in a really good mood and happy today. No present
concerns. Diaper was clean. <

‘| When I met with she was laying on a mat covered with a blanket and smiling. I
introduced myself to her as she actively listened and participated. Dress and groom appropriate.
She was playful and talkative.

SW: Can you tell me what makes you happy? PLAINTEE s

Child: Mommy
SW: What did you have for breakfast? | l- OF

Child: A sandwich ‘

SW: Have you had lunch yet?

Child: No, I will have macaroni. Look at my socks.

SW: Those are pretty. I like them. Do you like your socks?

Child: Yeah

SW: You have a pretty dress on. What color is your dress?

Child: Pointing at her dress and pulling it up to show it off. Proceeded to show this writer her
finger nail po.>*. .

SW: Very pretty. Who helped you do that?

Child: Mommy

SW: Where is mommy?

Child: She at home

SW: What makes you sad?

Child: No response to this question.

SW: Are you scared of anyone?

Child: No

SW: Where do you sleep at night?

Child: With Mommy

WE colled on her other side in attempt to take her nap. Her eyes were heavy. SW sat with her
and held her hand as she went to sleep.

Page 166 of 240

Page 1
From: DSHS/CA) SB occyt wa.gov>

To: Hopfauf, Shea (DSHS/CA) <HOPFASH@dshs.wa.gov>
Date: 12/11/2017 9:28:07 AM

N Subject: Myriam Zayas 481288

st Attachments: Intake FAR. pdf

Oo

LO

vt Hi Ms. Shea, so we looked into the other children. SC . 1y does not have six children as we discussed. Mother only has - vee was placed out of home along with

& HE BE dependency was dismissed and he wa: teturned to his biological father. Mother’s rights were terminated for 2s been adopted and lives

Oo. in Texas. Mother obtained MM back after the father left him with the aunt after becoming homeless. Aunt kept [For two months and then gave him back to the
mother. Mother has since had another child i and currently has both RB and i her care. | have attached the intake for your view. Also the farther of

<I has an open FAR case in Tacoma Father has been unable to locate. Mother stated that she would participate in services once she was located Mother has not participated

+ in the Tacoma services and has refused to U/A for them too.

©

a Keja’na Black

3 * CPS Supervisor — Region 2 ‘ a ‘ «

iL Kent CA Office

1313 W. Meeker St.
Kent, WA 98032,
Cell : 206-914°6417

PLAINTIFF’S
EXHIBIT

Jor

Case 2:20-cv-00747-JCC Document 49

Zayas, Myriam - Email Search
202007-PRR-164 8/13/2020
DCYF - 001833

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Re

Case ID: 481288

ALLEGATIONS:
VICTIM _ SUBJECT CAIN FINDING
Zayas, Myriam (1227958) | Negligent Treaiment or
Maltreatment

Describe the nature and extent of the alleged maltreatment or concern:
Open CPS case, Kent South-East OF fice

The mother, Myriam Zayas, age 37 lives with her children.

The children are: -Zayas, age 3 an ayas, age 15.

Referrer reports that Marcel was going out of his mother's home to see his friend in Tacoma today.
stabbed by a stranger who took his wallet and ran away. The youth is now at Madigan Army Hospital in
Lakewood being treated but will be discharged back home with his mother today. F.eferrer reports that the
mother immediately responded, came over to the hospital, has been appropriate with her son and appeared to
be very concerned.

Referrer reports the father.

kicked out of his father's and aunt's place and went to his mother and has been living with her since. The father
is reportedly on drugs and his whereabouts are unknown at this time.

PLAINTIFF’S
EXHIBIT

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PLAINTIFF’S
EXHIBIT

&b-0 |

ACTIVITIES

Activity: Contact - Law Enforcement Participant: Myriam Zayas Location: By Phone
Time: 04:00 PM TCM: No
CONTACTS
NARRATIVE

Case Note 1 of | Entered By : Mariah J. Krause Date Entered: 08/01/2019 Time
Entered : 09:38 AM
Collateral Contact: Kent PD

On 07/23/2019 SW Krause spoke with Kent PD because the father was having them assist him
with picking up his son from the mothers home.

Case Name: Case ID; Case Note ID: Note Finalized Dd
ZAYAS, MYKIAM 481288 46409249
Case Note Category: FAR Case Note Type: Assessment
Date Occurred: 07/24/2019 Time Occurred: 08:30 AM
Date Entered: 08/01/2019 09:48 AM Note Entered by: Krause, Mariah, J.

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PLAINTIFF’S
HIBIT

ACTIVITIES
Activity: Parent - Bio/Adopt or Guardian Contact (Includes face-to-face) Participant:
Y. Location: By Phone Time: 08:30 AM TCM: No
CONTACTS

NARRATIVE
Case Note 1 :."" Eatered By : Mariah [j Date Entered : 08/01/2019 Time
Entered : 09:48 AM
On 07/24/2019 SW [EEE spoke with IEE NIM stated that NN is in his care and
that he is going to get him into treatment. He stated that JIM is being cooperative and wanted
to go with his father. SW [IEE stated that she had placed therapy in the home and that he also
needed to get back to the Dr. and the dentist. [NI stated that he will make the appointments.

Case Name: Case ID: Case Note ID: Note Finalized
ZAYAS, MYRIAM __.| 481288 46409260
Case Note Category: FAR Case Note Type: Assessment
Date Occurred: 07/3 1/2019 Time Occurred: 09:00 AM
Date Entered: 08/01/2019 09:53 AM Note Entered by: SE Mariah, ge
Related Participants and Collaterals: Related Intakes:

Page 221 of 240

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Page 49 of 102

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Denver Lab Long {stand Lab Tacoma Lab Worcester Leb
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QO r a ni 1701 Chambers Rd. Unit J 789 Park Avenue 2617 East 1 Street 415 Main Street, 4th Floor
” Aurora, CO 80011 Huntington, NY 11743 Tacoma, WA 38821 Worcester, MA O1608
Heaith Salutions’ 855-295-BO90 855-895-8090 255-895-8090 655-895-8090

Specimen information’ : :
Donor Name: MYRIAM ZAYAS Test Reason: MEDICATIONS:
DOB: 11/15/1980 Type (Matrix): Urine
Specimen 1D: 159857965 Collected By: PLAINTIFF’S
Reference #: 8989006 Collected: 3/11/2020 None Provided EXHIBIT

Requested By: Received: 3/12/2020 09:31 AM
Reported: 3/13/2020 12:18 PM i SN5 _
Agency: CA REGION 4-DSHS-#01108 External ID: NA

Sub-Agency: CA R4 - KING SOUTH EAST Patient ID: 481288
Additional Information _ “: . .
Donor 1D: 481288 NAME: KELSEY OWENS
Collection Site: CA - STOP - KENT Title: Social Worker
Specimen Final Outcome = Screen and Confirmation Results . ‘. :
Test Result Outcome Cutoff [Notes
AMPHETAMINES ~ Fo oo a ee
Amphetamine Screen NEGATIVE 1000 ng/mL
BENZODIAZEPINES. . 2 1
Benzodiazepines Screen NEGATIVE 200 ng/mL
OPIATES : :
Opiates Screen NEGATIVE 300 ng/mt
OXYCODONE. . i. po Ps
Oxycodone Screen NEGATIVE 100 ng/mt
COCAINE. se e “ - 6
Cocaine Screen NEGATIVE 300 ng/mL
ECSTASY: (MDMA): : fF -o pee
MDMA Screen NEGATIVE 500 ng/mt
Validity Testirig : SO : :
Test Result Outcome | Method Cutoff
Creatinine 106.5 mg/dL | NORMAL | Colorimetric | >= 20 mg/dL
pi : 5.5 NORMAL | Colorimetric] 4.5 - 3.9
Nitrite 7 mcg/mb NORMAL | Colorimetric | 500 meg/mL
. Additional Comments —__ : . - . : “
Testing performed at Cordant Health Solutions - Tacoma Lab, 2617 € L St Ste A, Tacoma, WA 98421, CLIA # 5000891660
Key Summary comments and notations do not represent a diagnosis and are for informationat purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions™ dees not-verify provided medication history.

‘The treating provider must make all clinical decisions, and the pravider Is responsible for the Interpretation of this data for the treatment of
the individual patient’s medical condition. Cordant does not assume any responsibility for patient outcomes based upon this information.

Tests were developed and performance characteristics determined by Cordant Health Solutions™. The laboratory is regulated under CLIA as ,
qualified to perform high-compiexity testing. This test is used for clinical purposes. It should not be regarded as Investigational or for
research.

Irene Shu, Ph.D., DABCC (CC, TC), F-ABFT

#** END OF REPORT ***

Donor Name: MYRIAM ZAYAS _ Reference #: 8989006 Specimen 1D: 159857965
Report ID: 87589282 / FINAL REPORT . Page lofi

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PLAINTIFF’S
EXHIBIT

SW provided that to Ms. Zayas back in text massage. SW also provided STOP's contact info per
Ms. Zayas request.

Case Name: Case ID: Case Note ID: Note Finalized [_|
ZAYAS, MYRIAM 481288 47224966

Case Note Category: CPS Case Note Type: Investigation

Date Occurred: 03/12/2020 Time Occurred: 11:45 AM

Date Entered: 03/12/2020 12:55 PM Note Entered by: Owens, Kelsey, L.

Related Participants and Collaterals: Related Intakes:
GE Zayas 02/18/2020 6:26 AM 4319255

02/09/2020 10:41 AM 4319498 -

ACTIVITIES

Activity: Child - Face to Face with Child Participant: (I A. IN Zayas Location:
School Time: 11:45 AM TCM: No

CONTACTS

NARRATIVE

Case Notelofl Entered By: Kelsey L. Owens Date Entered: 03/12/2020 Time
Entered: 12:55 PM
Contact- Child

On 3/12/2020, SW Owens met with [J at school. J declined to have anyone in the
room with her. When SW asked if she remembered SW, she stated yes and put her head down.
SW asked if she was okay, she shrugged her shoulders. SW asked if there was something that
would make her feel better, she stated her dog. SW asked if she could show her SW's dogs.
appeared interested and stated yes. SW showed her two dogs. SW asked [J about
what she likes to do with mommy. She stated nothing. SW asked who she does stuff with, she
stated her puppy. WE staica her puppy will poop and pee in the room. JJ reported that
mommy gets mad when the puppy does that. SW asked what does mommy do at home, JJ
stated i don't know. iz reported that she missed her older brother because he's never coming
back. i began talking about her dad, she stated that her dad punched her in the nose really
hard. SW asked how she knew that, she reported that her mom told her. SW asked if she visits
her dad, she stated yes but now she doesn't. SW asked about the last time she saw her dad, she
stated two weeks ago. SW asked so you've seen your dad since you been five, she stated yes.
stated that she likes hanging out with her dad at his house and the boys. SW attempted to
ask about the boys, and [J stated she didn't know. [IJ began putting her head down and
disengaging w... SW would ask about her mom. SW ended the visit due to va disengaging.

Case Name: Case ID: Case Note ID: Note Finalized [_]
ZAYAS, MYRIAM 481288 47228426

Case Note Category: CPS Case Note Type: Investigation

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2/19/2020 10:57:32 AM - 4/2/2020 7:13:41 PM

Export Details:

Device Phone Number +1 (253) 289-8863

Device Name DSHSCA.\ 33291 1-Kelsey Owens-iPhone

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Dependency Petition

Order Setting Case Schedule - Dependency

Case Information Cover Sheet

Note for Calendar

Notice and Summons

Dependency Petition - REMOVE ALGD FATH /AMENDED
Notice and Summons - AMENDED

Order to Take Child Into Custody

Motion and Affidavit / Declaration - TO TAKE CHILD INTO CUSTODY
Notice of Appearance and Request for Discovery

Shelter Care Order

Order and Authorization Re Health Care and Education
Notice of Appearance and Request for Discovery

Notice - RE TESTIMONY

Affidavit / Declaration / Certificate Of Service

Return of Service

Respon$e - MOTHER'S TO DCYF

Objection / Opposition ~- MOTHER'S RE DCYF REPORT
Declaration

Affidavit / Declaration / Certificate Of Service

Motion and Affidavit / Declaration - MOTHER'S FOR RETURN HOME
Affidavit / Declaration / Certificate Of Service

Affidavit / Declaration / Certificate Of Service

Note for Calendar - 72 HR/30 SHELTER CARE

Affidavit / Deciaration / Certificate Of Service

Affidavit / Declaration / Certificate Of Service

Notice of Appearance

Affidavit / Declaration / Certificate Of Service

Faulty Document Notice

Faulty Document Notice

Correspondence - FROM MOTHER, MYRIAM ZAYAS
Correspondence - EMAIL FROM MOTHER, MYRIAM ZAYAS
Correspondence - FROM MOTHER MYRIAM ZAYAS
Correspondence - EMAIL FROM MOTHER MYRIAM ZAYAS
Correspondence - REGARDING MOTHER, MYRIAM ZAYAS
Correspondence - EMAILS FROM MOTHER, MYRIAM ZAYAS
Correspondence - EMAIL REGARDING MOTHER, MYRIAM ROGERS
Faulty Document Notice

Faulty Document Notice

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10/16/2020

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Name: Myriam Zayas | DOB: 11/5/1980 | MRN: U2306528 | PCP: Unknown PCP

Message Center EA (

03/18/2020 09:00 AM

RE: when i come for my appt next week?
Hi Myriam,

| am so sorry that you have had all of these issues recently.

F irstly | want to start by saying

would be ha

you have
, chest pain, palpitations, visual changes, weakness, or persistent
headache please go to the emergency department. Please seek care immediately if your blood pressure
is >160 systolic or >110 diastolic.

Regarding your toxicology screen it is difficult for me to interpret the results because | did not prescribe
the labetalol and also do not know the timing of the toxicology screen and when/what medications you
were taking. | acknowledge there have been case reports of false positive drug screens with labetalol
use. The next steps would depend on timing of the toxicology screen and if the sample is still available.
We can address this more if you come in to be seen.

Please cal to schedule an appointment.

Thank you,

This message is too old to be replied to.

~---- Message -----
From:Myriam Zayas
Sent:3/17/2020 2:49 PM PDT

Subject:RE: when i come for my appt next week?

CPS TOOK MY 5 YEAR OLD AND I NEVER USED ANY DRUGS, THE MEDS YOU PRESCRIBED ME ARE THE REASON

From:Office of
Sent:3/17/2020 2:27 PM PDT
To:Myriam Zayas

Subject:RE: when i come for my appt next week?

» * \
Case 2:20-cv-00747-JCC Document 49 _ Filed 02/04/21 Page 55 of 102

Page 1

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TS
Doe 4/1/2020 3:37. 12.PM
_ eibecl Myriam Zayas
AUBUIINGS. gaves matiam co eval 4-1-20 pdt

renin emit

Hi there,

Here is the cd eval for Ms, Zayas. * PLAINTIFF’S
EXHIBIT

OY -o]

Bast wishes,

Program Counselor

‘th )

Social Treetment Opportunity Programs
1019 West james Street, Suite 102
‘Kent, WA 98032

Phone:953-234-1190

Fax! 253-859-0043

Wan stop wecorn

E-MAIL CONFIDENTIALITY NOTICE: The contents of Us evel meseage and any attachments are intended solely for the eddressee(s) end may contin.
cankidential and/or logelly arivilewed information If you aew not an intended recisient of this Betsage or if this message has been addressed to you in error
please immediately notify the sender and delete this message and any attachments. Use, dissemination; distribution, or reproduction of this message by
unintended recipients is not authored and may Be Unlawlll.

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DEPARTMENT OF CHILDREN, YOUTH and FAMILIES
INTAKE REPORT Intake Type:

Intake Received: 02/16/2020 6:26AM CPS

Intake ID: 4319255
Case: ZAYAS, MYRIAM (481288)

Final Decision: Screen Out Response Time: N/A Reason: No specific CA/N
Date of Alleged. Maltreatment: 02/18/2020 allegation or Risk

Intake Name: Zayas, Myriam

ADDRESS INCIDENT
27369 129TH PL SE Kent, WA 98030-8930 27369 129TH PL SE. Kent, WA 98030-8930

Homa: (360) 602-1444 Alt: (208) 484-7102 Phone: (360) 602-1444 Alt: (206) 484-7102
Mobile. 253) 208-4272 CELL: (253) 208-4272

ALLEGATION :
SUBJECT RELATIONSHIP
VICTIM SUBJECT TO VICTIM CAIN

GE Zaycs Zayas,Myriam (1227958) Parent Birth/Adoptive Negligent Treatment-or
(101657902) Maltreatment

SRIOGIEO 4 5 years, 7 months 11/05/1980 — s9.years,-3 months

CHILD'S NAME _ | SCHOOL NAME | SCHOOL ADDRESS. PHONE NUMBER

Zayas, Pine Tree Elem 27825 118th SE Kent WA
P | Elementary Schoo! enty 253) 373-7687
lcones702 aes en 98031-8778 Gee

Describe the. nature and extent of the alleged maltreatment o or concerns. Describe the surrounding circumstances
accompanying the maltreatment:or concerns.

Allegations. The mother went AMA from the hospital due to not having anyone to care for her 5-year-old daughter. Iwas
recommended that mother be admiitted for postpartum pre-eclampsia. The mother had no:caregivers for her daughter and
did not want DCYF to take the child. The referrer believes that the child appeared healthy and well cared for.

Household Members: PLAINTIFF’S

Mother: Myriam Zayas
Child: HE G- Zayas age 5:

| The: referrer is calling from MultiCare Covington Medical Center. The referrer stated that the mother and Amiya came into
the emergency department at around 2430 this moming, 02/48/20. The mother left against medical advice at around 0830
hours.

The mother was diagnosed with postpartum pre-eclampsia. The mother's blood pressure was high. The mother had-given
birth on 02/09/20 toa baby girl. The child is with adoptive parents. The mother had pre-eclampsia at delivery. The referrer
said that the medical staff was ablé-to get the mother's biood pressure‘ under control.. However, it was recommended that
mother be admitted to the hospital.

. | The mother signed the AMA because she had no caregiver for a There were several unsuccessful attempts to contact!
family members:to --'-~with EEF EEE could not stay at the hospital.

The referrer said that the mother was aware that she should stay at the hospital but did not want [Jj be placed in DCYF

SMO2 Intake Report Intake Name: Zayas; Myriam Paget of 6

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STATE OF WASHINGTON

OFFICE OF THE FAMILY AND CHILDREN’S OMBUDS
6840 FORT DENT WAY, SUITE 125
TUKWILA, WA 98188
(206) 439-3870 © (800) 571-7321 ¢ FAX (206) 439-3877

January 15, 2021

Myriam Zayas
rentmefee@gqmail.com

Dear Ms. Zayas:

| am writing in reference to your complaint that was received by our office on December 18, 2020.
We in the Office of the Family and Children’s Ombuds (OFCO) sincerely appreciate you taking
time to contact us with your concerns regarding the Department of Children, Youth and Families
(DCYF), Children and Family Welfare Services (CFWS).

require any child to participate in practices against their beliefs. Additionally, state law provides
that parental authority is appropriate in areas that are not connected with the abuse or neglect that
resulted in the dependency. | contacted the area administrator, and supervisor about the concerns
you raised and am now satisfied that the Department is working with you to establish an academic
plan for your daughter.

Although we are closing your complaint, please be assured that we have documented the issues
you've raised concerning parental rights and will include them in our annual report to the Governor
and to the Legislature.

Again, thank you for taking the time to contact us, and please do not hesitate to contact us again if
we can be of assistance to you.

Sincerely,

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State of Washington Secure Email Portal

|e This message will expire aftet February 19, 2021 6:39:34 PM, PST

: "Founded Findings (OCYF)" <dcyf.foundedfindings@dcyf.wa.gov>
: "ar ya.angel@hotmail.com" <amiya.angel@hotmail.com>
: “Founded Findings (DCYF)" <dcyf.foundedfindings@dcyf.wa.gov>
Subject: DCYF Request for Review and Records [secure]
Sent: January 20, 2021 6:39:27 PM, PST
Importance: High
Attachments: @ Request for Certificate of Parental Improvement.docx (52.4kB),
@ Zayas, Myriam Request for Records 17-041A docx (64.9kB)

GQIAIl: attachments. zip

Hello Myrian,

Thank you for speaking with me today. As discussed, | researched whether you had any founded findings and have included the
information for you below.

It appears there are two, one from 2001 and 2009. It appears you may have received a certified letter for the one in 2009 but | don’t
know if you received it for the one in 2001.

Intake # 2105426 (9/8/09) Assessment ID 71783037 Completed 10/7/2009 (Puyallup)

Intake ID’s 1232742, 1218936, 1206127, 1181549 are all related to Founded Finding, Assessment ID: 31569701 - Completed 2001

Attached is the public disclosure form with instructions if you would like a copy of your investigative reports. | have added the case # and
Intakes for the investigations. Please fill out the rest of the attached form and send by fax or email to the Public Disclosure Unit along
with a copy of your identification:

Public Disclosure Email: DCYF PublicDisclosure@dcyf.wa.gov
Public Disclosure Fax: (360) 407-5571
Public Disclosure Intake Line: (360) 407-5520

The information shared is confidential under chapter RCW 13.50.100 and 42.56.230(2) and can only be released outside DSHS as

authorized by those laws.
a

The link to the Office of Administrative Hearings is here: http: //www.oah,wa.gov/

‘he link to the Northwest Justice Project is here: https: //nwijustice.org/home

You may also be eligible for a Certificate of Parental Improvement (CPI). A CPI removes a barrier for individuals with a founded finding of
child abuse or neglect made by DCYF or a Washington state court under RCW 13. 34.030{6)(b} when they apply to work in an assisted living
facility or nursing home, provide long-term care services, or seek unsupervised access under a DCYF program. You may request a CPI by
filling out the attached form and sending it by email to: deyf.cpi@dcyf.wa.gov or mailing it to: CPI PO Box 40993 Olympia, WA 98504. If
you have questions you may call the CPI unit at 1-800-998-3898, option 8. You may also find more information about this program at the

following link: https: //www. deyt_wa.sov/safety/can-founded-findings/cpi.

Thank you,

. Sincerely, PLAINTIFF’S
EXHIBIT

csv | Provider Supports Compliance Manager ~ ZO
El

ligibitity and Provider Supports Division

Washington State Department of
CHILDREN, YOUTH & FAMILIES

NOTICE: This communication may contain confidential information. If you have received this e-mail or attachment in error, please advise the sendet by reply
e-mail and immediately delete the message and any attachments without copying or disclosing its contents. Thank you.

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Washington ASER 2

In order to be eligible for State-funded adoption assistance a child must be a special needs child Noh defined below, is
in state funded foster care, or likely to be placed in foster care.

Six years of age or older at the time of adoption foption OX ese
Minority ethnic or racial background. J.

Member of a sibling group of three or more; or if a sibling group of two, at least one sibling has a disability or
meets the special needs criteria

Was previously adopted and eligible for Title V-E reimbursement

Diagnosed with a physical, mental, developmental, cognitive or emotional disability.

At risk for a diagnosis a physical, emotional, or disabling condition

West Virginia

In order to be eligible for State-funded adoption assistance a child must be a special needs child as defined below,
legally free for adoption, and a dependent of the Department of Health and Human Resources in the custody of the
state of West Virginia or a child welfare agency licensed to place children for adoption in West Virginia.

w Eight years of age and older and under the age of eighteen

Member of a racial or ethnic minority oo
« Member of a sibling group needing placement together
a Anemotional, physical, mental or medical disability

Wisconsin

In order to be eligible for State-funded adoption assistance a child must be a special needs child as defined below
and legally free for adoption. If the child is an American Indian, adoption procedures shall be in accordance with 25
USC 1901-1963 as outlined in Administrative Code, Department of Children and Families 54.05
(http://docs.legis.wisconsin.gov/code/admin_code/dcf/021_099/54/05/2).

Ten years of age or older (if age is the only factor in determining eligibility)
Member of a minority race and children of that minority race cannot be readily placed due to a lack of
appropriate placement resources
Member of a sibling group of three or more children
For an adoption assistance agreement entered into before July 1, 2011, child exhibits special need
characteristics judged to be moderate or intensive under the schedule of difficulty-of-care levels specified in
s.DCF 50.12(3) (http://docs.legis.wisconsin.gov/code/admin_code/dcf/021_099/50/12/3)
For an adoption assistance agreement entered into on or after July 1, 2011, child exhibits five or more needs
identified as moderate or intensive in the areas listed in s.DCF 56.23(2){a)1.a. to e., in the rate schedule under
s.DCF 56.23(2) (a) (http://docs.legis.wisconsin.gov/code/admin_code/dcf/021_099/56/23/2)
At high risk of developing a moderate or intensive level of special needs as outlined above and based on any of
the following:
» Either or both of the child's birth parents have a documented medical diagnosis or medical history that
could later result in moderate or intensive level of special care needs as described above
Documented evidence in medical or hospital records that the child's birth mother received
inappropriate prenatal care that could later result in moderate or intensive level of special care needs
as described above
Documented evidence in medical, hospital, law enforcement, or court records that the birth mother
used harmful drugs or alcohol during pregnancy which could later result in the child developing a
moderate or intensive level of special care needs as described above.
The child has experienced 4 or more placements with extended family or in foster homes that could
affect the normal attachment process
The child experienced neglect in the first 3 years of life or sustained physical injury or physical disease
that could have a long-term effect on physical, emotional, or intellectual development

Wyoming

In order to be eligible for State-funded adoption assistance a child must be a special needs child as defined below:

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PLAINTIFF’S
EXHIBIT

3.10 Restraining Order. AS|7

[] The court signed a separate restraining order on this date.
{] The restraining order entered pursuant io ROW 26.44.0688 ig incorporated into this order.

Placement of the child with. is Cohtingent on continued compliance
with the terms of this restrai with any and all terms of this order may
(

necessary to request ass
Child’s tidian Status:
Any party who subsequently receives information that provides a reason to know the child is an
indian child under 25.C.F.R. § 23.107 shall inform the court.

‘All parties shall appear at the next scheduled hearing (s¢e:page one).
Other:

C] The child shail remain in court-ordered placement and comply with all rules of placement.
Failure to comply rilay result in a finding of contempt and sanctions.

srisionnnne

Assistant Attomey General
WSoA¢

[1] Pro Se, Advised of Right to Counsel

‘Shelter Care Hni-cing Oiler (SCOR) —Page 10. of 71
WPF JU 02.0200 (7/2019) - JUCR 2.1, 2.3, 24 ROW 43.34.0862. 065

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48. Please. briefly describe ‘your  naeriaine of the issue of “diversity
profession.”
The people that work in the legal profession should ve repesenirive of the society they serve. We
must strive to promote and encourage people of all races, religions or sexual orientations to fully
participate at all levels. Diversity also includes those who comic into the system should have equal
treatment and access to justice be they minority, disabled, | poor, Bay, lesbian, bisexual or

One or more , participants in the evaluation process may co: + each of your references. “All
telephone numbers should be current and legible: If a reference is unreachable, your
rating/evaluation may be delayed. Please use a separate piece of paper for each list. You may contact
references in advauce if you so desire. Individuals not listed by you as a reference may be contacted
to obtain information about you.

49. Ifyou have been in practice within the past fifteen years, list the names and phone nambers
of ten opposing counsels who kwow you best, including at least three opposing counsels on
cases that went to trial.

If you hav. been a judge or otherwise have served as # neutra} decision-maker within the past
fifteen years, please list the names and phone numbers of the jast ten attorneys who have
appeared before you,

List the names and phone numbers of up to six non-attoracy references whose opinions or
observations ~ particularly with respect to your commitment bs improving access to the

judicial system for indigent populations, people of color, and sfranchised communities ~

would assist in the consideration of your application.

For the last five trials in which you participated (whether as trial lawyer or decision-maker),
list as appropriate the following for each: case name, subject r, Court, judge (w/ phone
nuntber), and oppoking counsel or counsel appearing before you (w/ phone number),

:

List the names and phone numbers of ten additional attorney familiar with your professional
qualifications, skills, experience or attributes.

Version 2.-Januery 2007

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Dear King County Council,

I would be truly honored to serve'as King County District Court Judge. I am, therefore,

pleased to submit my application for the appointment.

i currently serve as a Judge Pro. Tem for King County Superior, District and Municipal Courts.
During my time on the bench, 1 have worked hard to earn a reputation for being a highly

respected, reliable and efficient Judge with sound legal judgment,
sense of fairness,

| have been rated as “E: j y Well

on sense and a strong:

In short, I hope you will seriously consider my application. I assure you that if appointed I

will serve the “rt with faisness, integrity and witha deep commitment

to justice:

Case 2:20-cv-00747-JCC .. Document 49 Filed 02/04/21 Page 68o0f102 |
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Health Soltiqas” 5 855.885.8000

Donor Name: MYRIAM ZAYAS Test Reason: MEDICATIONS:
DOB: 11/15/1980 Type (Matrix): Urine
Specimen ID: 159857965 Collected By:
Reference #: 8989006 Collected: 3/11/2020 None Provided
Requested By: Received: 3/12/2020 09:31 AM
Reported: 3/13/2020 12:18PM
Agency: CA REGION 4-DSHS-#01109 External ID: NA
Sub-Agency: CA Ré4 - KING SOUTH EAST Patient ID: 481288

NAM E: KELSEY OWENS
Title: Social Worker

Donor ID: 481288
Collection Site: CA - STOP - KENT

Method | Cutoff [Notes

Se

SEE
Benzodiazepines Screen

eo
Cocaine Screen

MDMA Screen

Test Outcome Method Cutoff Notes
Creatinine 106.5 mg/dL NORMAL = | Colorimetric | >= 20 mg/dL
pH 5.5 NORMAL | Colorimetric | 4.5- 8.9
Nitrite 7 meg/mL NORMAL | | Colorimetric 1500 mcg/mL

Testing performed at Cordant Health Solutions - Tacoma Lab, 2617 EL& Se A, Tacoma, WA 98421. CLIA #50D0891660

Key Summary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions™does not verify provided medication history.
The treating provider must make all clinical decisions, and the provider is responsible for the interpretation of this data for the treatment of
the individual patient’s medical condition. Cordant does not assume any responsibility for patient outcomes based upon this information.

Tests were developed and performance characteristics determined by Cordant Health Solutions™ The laboratory is regulated under CLIA as
qualified to perform high-complexity testing. This test is used for clinical purposes. It should not be regarded as investigational or for

research.

Irene Shu, Ph.D., DABCC (CG TQ), F-ABFT

Donor Name: MYRIAM ZAYAS Reference #: 8989006 Specimen ID: 159857965
Report ID: 97589282 FINAL REPORT Page 1 of 1

Case 2:20-cv-00747-JCC

Donor Name: MYRIAM ZAYAS
DOB: 11/5/1986
Specimen ID: 159914281

Document 49

Denver Lab Long ( i

Test Reason:
Type (Matrix):
Collected By:

Urine

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Tacoma Lass

EGR

MEDICATIONS:

Reference #: 8999335
Requested By:

None Provided
09:42 AM
10:26 AM

Collected:
Received:
Reported:
External ID:
Patient ID:

3/24/2029
3/25/2020
3/ 26/2020
NA
481288

Agency: CA REGION 4-DSHS-#01109
Sub-Agency: CA R4 - KING SOUTH EAST
Additional information. :
Collection Site: CA - STOP - KENT
NAME: KELSEY OWENS
ecimen Final Outcome - Screen and Confitmation Resulis
Outcome

Title: Social Worker

Cutoff Notes

Method |

Am phetam ine Screen
BENZODIAZEPINES

Benzodiazepines Screen

ae A
MDMA Screen

“NEGATIVE 500 ng/mL
Cutoff

r= 20 mg/dL
-8.9

500 0 eg

Method

Colorimetric

Outcome
NORMAL
NORMAL
NORM AL

Resuit
$1.7 mg/dl
13 meg! me

Test
Creatinine

Colorimetric

Colorimetric
LGonments Le oo ee
Testing performed at Cordant Health & Solutions - Tacoma Lab. 36 17 EL& Se A. Tacoma. WA 98421. CLIA ¥ 50n089 1660
Key Summary comments and notations do not represent a diagnasis and are jor informational purposes only. Consistency determinations are
based salely on the medication history provided with each specimen. Cordani Health Solutions™does nat verify proviaed medication histary.
The treating previder must make ail clinical dacisions, and the provider is responsible for the interpretation of this data for the treatment of
the individual patient's medical condition. Cordant does not assume any responsibility for patient outcomes based upon thisinformation.

Tests were developed and performance characteristics determined by Cordant Health Sclutions™ The laboratory is regulated under CUA as
qualified to perform high-complexity testing. This tesi it should not be regarded as investigational or for
research.

is.used far clinical purcoses.

MYRIAM ZAYAS 169914281

Report 1D: 98087159

Donor Name: Specimen ID:

FINAL REPORT

Page 7 af 1

Case 2:20-cv-00747-JCC | Document 49 _Filed 0 02/04/21 Page 70 of 102

Denver Cab

Donor Name: MYRIAM ZAYAS Test Reason: MEDICATIONS:
DOB: Type (Matrix):
Specimen ID: 159924739 Collected By:
Reference #: 108575561 Collected: 3/27/2020 01:23 PM
Requested By: Received: 3/31/2020 02:14PM
Reported: 4/7/2020 12:09 PM
Agency: STOP External 1D: NA
Sub-Agency: STOP - KENT Patient ID: 4613342
Additional inlormation FT

Title: Counselor
[east —[ousene [vad | Cutoff |Notes

NEGATIVE i 11000 ng/mL

Barbiturates Screen | NEGATIVE 200 ng/mL

BENZODIAZEPINES —_

NEGATIVE 200 ng/mL |

Opiates Screen NEGATIVE _ i 200 no/miL |

OXYCODONE | eo . 4 oo
Oxycodone Soreen G 100 ng/mL

CANNABINGIDS (THO)

cannabinoids Soreen i NEGATIVE | j 20 ng/mt

‘| NEGATIVE | EI "300 ng/mL

EIA | 500 ng/mL

NEGATIVE | EIA 506 ng/mL

Result Outcome Method Cutoff |
Creatinine | 125.6 mg/dL | NORMAL | Colorimetric | >= 20 mg/dL
pH 6.8 NORM AL Colorimetric 45-89

Nitrite 26 meg/mL NORMAL | Colorimetric 500 a __
Additional Commer : 2 TT a T LL ee

festing performed at Cordant Health Solutions - Tacoma tab. 2617 ELS Be A. Tacoma, WA 98421. { CLA HE 5000891660
Key Summary comments and notations do not represen! a diagnosis and are far informational purposes only. Consistency determinations are
based solely on ihe medication history provided with each specimen. Cordant Health Solutions™does not verify provided medication history.
The treating provider must make ail clinical decisions, and the provider is responsible for the interpretation of this data for the treatment of
ihe individual patient’s medical condition. Cordant does noi assume any responsibility for patient outcames based upon this information.

Tests were developed and performance characteristics datermined d by Cordani Health Soiutions™ The laboratory 's regulated under CLA as
qualifies to perfarm hign-camplexity testing. This test is used for clinical turooses. It should not be regarded as investigational or for
research.

lrene Shu, Ph.D, DABCO (OG TC, F-ABET

Donor Name: MYRIAM ZAYAS Refererice #: 108575561 Specimen ID: 159924739
Report ID: 98179885 FINAL REPORT Page 1 of 7

Case 2:20-cv-00747-JCC _ Document 49 . flee 02/04/21 Page 71 of 102

oak

Donor Name: MARIAM ZAYAS Test Reason: MEDICATIONS: Quetiapine
DOB: Type (Matrix): Urine
Specimen IB: 159961890 Coilected By:
Reference #: 108727034 Collected: 4/16/2020 10:03 AM
Requested By: Received: 4/17/2020 03:49PM
Reported: 4/18/2020 11:25 AM
Agency: STOP External 1D: NA
Sub-Agency: STOP - KENT Patient ID: 4632882
Additional information — LL oo 2
NAME: RUG Title: Counselor
Specitien Final Outcome - Screen and Confirmation Results oe
Test |__Result | Outcome | Method | Cutoff__ [Notes
AMPHETAMINES. ee
_ Amphetamine Screen EIA
BARS IURATES
Barbiturates Sreen |__NEGATIVE 200 Ong/mt

=f vecave | L oe 28 200 ong
stascs eeahe ee

COCAINE

Cocaine Screen | ns NEGATIVE a fs 300 son

ECSTASY (DMA)

MDMA Screen "NEGATIVE Peeve | ok 500 ng/mL

“Ethanol Seen ree 20 mg/d
"Ethyl glucuronide Sereen |__| NEGATIVE [ea] 500 ng/mL

Result Outcome Method Cutoff
Creatinine 117.5 ma/ol NORM AL | Coisrimetric | >= 20 mg/dL
pH 4.9 NORM AL Colorimetric 4.5-8.9
Nitrite 27 meg/mL NORM AL Colorimetric 500 Someone |

Key Sum mary comments and notations do not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication histary provided with each specimen. Cordant Health Solutions™does not verify provided medication history.
The treating provider must make all clinical decisions, and ine provider is responsible for the interpretation of this data for the treatment of
the individual patient's medical condition. Cordant does not assume any responsibility for patient outcomes based upon this information.

Tests were developed and performance characteristics determined by Cordant Health Solutions™ The laboratory is regulated under CiJA as
qualified to perform high-complexity testing. This test is used for clinical purposes. It should not be regarded as investigational or for
research.

irene Shu, Ph.D., DABCC (CC, TC), F-ABFT

Donor Name: MARIAM ZAYAS Reference #: 108727034 Specimen ID: 159961890
Report 1D: 98524117 FINAL REPORT Page 1 of {

Case 2:20-cv-00747-JCC Document 49 _ Filed 02/04/21 Page 72 of 102

Denver j mw she Yacorm: Lab

Donor Name: MYRIAM ZAYAS Test Reason: M EDICATIONS:
DOB: Type (Matrix): Urine
Specimen ID: 159984422 Collected By:
Reference #: 108727006 Collected: 4/23/2020 04:29 PM
Requested By: Received: 4/28/2020 02:50 PM
Reported: 5/6/2026 08:37 AM
Agency: STOP External 1D: NA

Sub-Agency: STOP - KENT Patient ID: 4613342
Additional (elormation oo a oe oo C
NAME: BUG Title: Counselor
Speciinen Final Outcome - Screan and Contirmation fesilt S

Test pistons [a “Method cutott__ [Notes

Barbiturates Screen
BENZODIAZEPINES
Benzodiazepines Screen

N EGATIVE

NEGATIVE See 100 ong |
{| NEGATIVE ln pamela 20-ngi mk

EIA 500 ng/mL

Result Quicome Method
Creatinine | 0.6mag/db | INVALID | Colorimetric |>= 20 mg/dL
Specific Gravity 1.0066 INVALID Retracometry §1.003 - 1.019
pH 34 ADULTERATED | pH Meter 4.5 - 8.9
Nitrite es megim NORM AL | Colorimetric 1500 meg/mL
AdditionalComments «ss a
Testing performed at Cordant Health Solutions ‘Tacoma Lab, 2617 ELS SeA, Tacoma, WA 98421. LIA # 50D0891660
Key Summary comments and notations do nat represent a diagnosis and are for Informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Health Solutions™does not verify provided medication history.
The treating provider must make ali clinical decisions, and the provider is responsible for the interpretation of this data for ihe treatment of
the individual patient's medical condition. Cordant does not assume any responsibility tor patient outcomes based upon this information.

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qualified to perform high-complexity testing. This test is used for clinical purposes. it should not be regarded as investigational or for
research.

frene Shu, Ph.D., DABOC (OC, TC), F-ABFT
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__i** END OF REPORT

Donor Name: MYRIAM ZAYAS Reference #: 108727006 Specimen ID: 159984422
Report ID: 98869423 FINAL REPORT Page 1 of 1

Case 2:20-cv-00747-JCC Document 49 _ Filed 02/04/21 Page 73 of 102

Specinen information — TC Lee a ty 5
Donor Name: MYRIAM ZAYAS Test Reason: MEDICATIONS: Quetiapine
DOB: Type (Matrix): Urine
Specimen ID: 160458185 Collected By:
Reference #: 108904360 Collected: 9/17/2020 — None Provided
Requested By: Received: 9/21/2020 10:02 AM
Reported: 9/22/2020 01:48 PM
Agency: STOP External ID: NA
Sub-Agency: STOP - KENT Patient 1D: 4613342
Additional inform: : ae . re

Title: Counselor

wf eat | Ossone [aed Cutoff __|Notes

Barbiturates Screen
BENZODIAZEPIN NES
Benzodiazepines Screen

300 ng/mL
Ea MDMA) a et

MDMA Scre n 5 { 500 0 agi

Ethyl glucuronide Soren
Validity Testing ce ee oe a
Test Result Outcome Method Cutoff
Creatinine 86.2 mg/dL | NORMAL | Colorimetric [>= 20 mofdLl
pH 8.7 NORM AL Colorimetric 4.5-8.9
Nitrite 19 meg/mL NORM AL Colorimetric 500 moon
Additional Gamments oe cs a
Testing performed at Cordant Heaith Solutions - Tacoma Lab, 2617 ELS Se A. Tacoma, WAS 98421, CLIA # 50D0891660
Key Summary comments and notations de not represent a diagnosis and are for informational purposes only. Consistency determinations are
based solely on the medication history provided with each specimen. Cordant Heaith Solutions™does not verily provided medication history.
The treating provider must make all clinical decisions, and the provider is responsible far the internretation of inis data for the treatment of
the individual patient's medical condition. Cordant does not assume any responsibility for patient outcomes based upon this infermation.

Tests were developed and performance characteristics determined by Cordant Health Solutions™ Tne laboratory isreguiated under CLIA as
qualified to perform high-complexity testing. This test is used for clinical purposes. It should not be regarded as investigational or for
research.

irene Shu, Ph.D., DABOC (OG, TO), F-ABFT

+ END OF REPORT ***

Donor Name: MYRIAM ZAYAS Reference #: 108904360 Specimen ID: 160458185
Report 1D: 163319165 FINAL REPORT Page 1 of 3

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MYRIAM ZAYAS Expected Delivery Date: 02/02/21

27369 129TH PL SE
KENT WA 98030-8930 0005

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TO: DISTRICT COURT CLERK
20-CV-00747 JCC
700 STEWART ST

SEATTLE WA 98101 -4439

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